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James Garretson (00:00:00):
What's going on?

Paul Malagerio (00:00:03):
Let me read you these. I'll try to read these messages to you if I can figure out how to work my fucking
phone out here. Okay. A lady named Andrea Osborne sent me a message today about Jenn and before I
spoke to her, it was one of those-

Paul Malagerio (00:00:22):
You there?

Paul Malagerio (00:00:23):
I'm here. I'm listening.

James Garretson (00:00:24):
Okay.

Paul Malagerio (00:00:26):
It was a message request that I call Kurt Beckelman. She said she was a friend of his. It's Kurt Beckelman.
Yeah. She's a really nice lady. You can trust her. She has 40 mutual friends. So the conversation was
about Jen and the shit she's caused and what she's doing and blah, blah, blah, it goes on and on and on.
So, I don't really trust this woman.

Paul Malagerio (00:00:49):
So I said, "Yeah, well Jenn's really going to be pissed off when she finds out I'm getting her two tigers
from the sanctuary and the lady thought that was hilarious. So she just sent me this stuff now.

Paul Malagerio (00:01:01):
And there's another paragraph, I can't forward this, but she said that this was just sent to her from
Christina. "Apparently she's trying to get funding to put them on somebody's name. Nicole and Matt's
land. They're not set up. They're a bunch of hippies. I want to give you the heads up because she's tried
to get those tigers. Although I don't think she'll get money just to beg and borrow and steal."

James Garretson (00:01:28):
What tigers is she talking about?

Paul Malagerio (00:01:31):
Jenn Garrett's tigers right over at that Joe's place.

James Garretson (00:01:33):
Oh, okay because I misread that. I thought she was trying to help somebody rescue somebody else's
tigers. I didn't know they were those two tigers.

Paul Malagerio (00:01:43):

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Yeah. So apparently Jenn has got these other people convinced that she can get a permit. Now here's
something really creepy that the lady said that I want to, because Darlene has been trying to call me and
talk to me and stuff. And this lady says to me. Blah, blah, blah, blah.

Paul Malagerio (00:02:08):
She said, "I don't know you, but my friend Kurt and I are close and knew our friends. A lot of my monkey
friends. I've got monkeys. We talk, blah, blah, blah, blah, blah." Okay. So. Shit. Okay.

Paul Malagerio (00:02:24):
"So Darlene's got something on Jenn. That's what we think. I mean, I know she's illegal or illegal. She
took those animals and tigers off the property. She was told you should let them go and never take
them back. Darlene's a user, manipulator, liar to try and stop and get Jenn [inaudible 00:02:46] arrested.
Jenn was supposedly in on that because Darlene was behind you, but for some reason she won't
prosecute her. She's afraid of her. That's what leaves me to believe Darlene has info on her that could
get her into trouble. She should not have any animals. Some of her so-called friends are also in this
group about Darlene. They spy for her, we're just trying to figure out who they are and pump them off.
What a mess she's created."

Paul Malagerio (00:03:13):
Okay. So, "Jenn was doing something. When she first came on that's all she could talk about. People like
you are not helping Darlene. Blah, blah, blah. Jenn. Crazy."

Paul Malagerio (00:03:25):
Okay. She said something about Jenn was trying to get Darlene to work for her again. Or where was it?
Anyways? The impression that Jen's trying to patch things up with Darlene. So I guess maybe she might
know that Darlene's got the USDA permit.

James Garretson (00:03:40):
Darlene was messaging me yesterday about the shit Jenn was doing to her.

James Garretson (00:03:51):
Really.

James Garretson (00:03:58):
Yeah I don't know. Who knows? They're all fucking double, triple agents. Who knows?

Paul Malagerio (00:04:03):
Yes. She was trying to get her USDA permit in some other place, but going through everything in their
power to keep her away from animals as well. Anyways, I guess the point being is Jenn relentless, not
giving up. So now she's trying to raise money, I guess, to build an enclosure on some other people's
property. She's been trying to convince this lady that she's going to get those tigers back. And okay,
that's good she's doing that because it'll keep her from bothering me, you and maybe, hopefully
Darlene.

James Garretson (00:04:33):

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I don't know.

Paul Malagerio (00:04:35):
Okay. So nothing came to that address today where you sent the license plate sticker.

James Garretson (00:04:41):
There's something up. And Jason knows those people?

Paul Malagerio (00:04:46):
Yeah. He talks to her every night and asked her if it showed up. And she said, "No, but I'll certainly call
you if it does."

James Garretson (00:04:50):
That doesn't make any fucking sense. It should have been three days max.

Paul Malagerio (00:04:55):
Did you leave it in the mailbox and the mailman picked it up or did you go to the post office?

James Garretson (00:04:59):
No, the mailman picked it up because I had all my credit repair mail in there too? He got it. I mean
there's no doubt it went out.

Paul Malagerio (00:05:08):
So he mailed it? He didn't just fuck up?

James Garretson (00:05:12):
No, he didn't fuck up. It's in the mail somewhere, but it has a return address on it. I haven't checked
today, but I'll see if I got it. Well, I would have got it back yet.

Paul Malagerio (00:05:22):
Okay. And what day did you mail the insurance info? Was that Monday or Tuesday?

James Garretson (00:05:27):
The day you sent me the address, the next morning, I actually took it over to the post office and
dropped it in the mailbox out front.

Paul Malagerio (00:05:34):
So what's that, three days you think?

James Garretson (00:05:36):
Yeah. Three days max.

Paul Malagerio (00:05:37):


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So it should be here Friday, Saturday by the latest?

James Garretson (00:05:40):
Yes. Yeah.

James Garretson (00:05:42):
And that car, that rental car. We had to get it out at Oklahoma City.

Paul Malagerio (00:05:47):
Fuck.

James Garretson (00:05:48):
I know, we had to change it. What?

Paul Malagerio (00:05:52):
Okay. Is there any other option?

James Garretson (00:05:55):
Well, we can go to Dallas, but I would have to drive from Oklahoma city. Because I've got to go sign it.
You don't have an American driver's license. So I got to be there physically. I'll just not show up to court
until Monday. I'll just go to Dallas Sunday and fuck it.

Paul Malagerio (00:06:13):
Okay. But are you in Dallas, Saturday or Sunday for work. But that's not working hours right?

James Garretson (00:06:18):
Saturday I will be. Sunday, no. But I'll stay in Dallas.

Paul Malagerio (00:06:25):
Okay. But you're not going to be in Dallas the hours that the place is open where you can go there. Can
you?

James Garretson (00:06:32):
The place is 24 hours.

Paul Malagerio (00:06:35):
Oh, is it possible?

James Garretson (00:06:39):
It's at the airport.

Paul Malagerio (00:06:39):



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Okay. Is it possible to go out of your way before or after work to go and arrange that? That I can just go
there.

James Garretson (00:06:44):
Yeah. Well I could go there Saturday at wee hours in the morning.

Paul Malagerio (00:06:50):
Okay, would you be able to do that?

James Garretson (00:06:52):
Yeah. I mean, it's not too far from me. All right. Like 15 minutes from me.

Paul Malagerio (00:06:56):
Okay because I'm planning to leave here Monday morning to be in Dallas by noon. And I'm going to the
Dallas Fort Worth airport. Is that where I'm going?

James Garretson (00:07:03):
Yeah. DFW airport. Yep.

Paul Malagerio (00:07:06):
Okay. And then I got 20 something hours or what is it? 18 hours. Basically I'm driving 24 hours. So minus
six from that eighteen hours.

James Garretson (00:07:17):
What day do you got to be in court? What day of the week?

Paul Malagerio (00:07:19):
Wednesday.

James Garretson (00:07:20):
Oh, okay. You got plenty of time.

Paul Malagerio (00:07:23):
Yeah. So I'll be driving Monday and Tuesday and be there Wednesday. So what other problems with
that? Now once you organize the car there, what do I need to show them when I show up?

James Garretson (00:07:32):
You don't need to do anything. I'm going to take it off site and I'll leave the key somewhere.

Paul Malagerio (00:07:38):
Oh, okay.

James Garretson (00:07:40):


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Because you got to think, I got to be. I'm supposed to be in Oklahoma City, Saturday for the trial prep.
But that's not going to happen. Because I got to fucking work. I'm not going to be there early Sunday
morning. I got to sleep.

Paul Malagerio (00:07:55):
Yeah.

James Garretson (00:07:56):
So I don't know. I'm still thinking this motherfucker is going to plea it. I sure hope so.

Paul Malagerio (00:08:04):
Well what you have to prepare for? What the fuck do you care? You can't make a mistake.

James Garretson (00:08:08):
Yeah. I don't care either, but I just he's going to fucking plea it up last minute. What do you think? I think
you, I think you'll

Paul Malagerio (00:08:15):
Well, Jeff Johnson hasn't posted anything since last Friday which is very-

James Garretson (00:08:20):
Did I tell you? I didn't even talk to you since then. He called me drunk yesterday again.

Paul Malagerio (00:08:23):
He called you again?

James Garretson (00:08:27):
Yep.

Paul Malagerio (00:08:28):
So he doesn't know that he might be getting arrested?

James Garretson (00:08:31):
No. Well, this is it. I reiterated everything. I said, "why you would go there and say you're kill Lowe and
not kill him? What the fuck's going on with you man?"

James Garretson (00:08:41):
And he went through the whole conversation because I want to put a fucking nail in his coffin. I mean, I
want to nail him hard just for those fucking shady comments he made about [inaudible 00:08:52] and all
that.

Paul Malagerio (00:08:52):
Yeah. Yeah. Yeah.


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James Garretson (00:08:53):
So he said that he's going to Joe's lawyers Thursday and that I better pick up the phone when he's at
Joe's lawyers.

Paul Malagerio (00:09:00):
Oh, you better pick up the phone?

James Garretson (00:09:02):
Yeah, yeah, yeah. I better pick up the phone.

Paul Malagerio (00:09:05):
Or what?

James Garretson (00:09:08):
And then he goes from saying he's going to meet Joe's lawyers to saying, "Well, I'm thinking about just
taking everything down my site and just leaving it all alone."

Paul Malagerio (00:09:18):
Wah.

James Garretson (00:09:20):
So he was telling me about this meeting that they had at the city hall over there in fucking Thackerville.
And all these town people showed up and Lowe showed up. So Lowe got up there to speak to
everybody. There was a few Lowe haters there. But-

Paul Malagerio (00:09:39):
When was that?

James Garretson (00:09:40):
This was last week.

James Garretson (00:09:42):
This happened. Because I verified it through my realtor friend too.

Paul Malagerio (00:09:44):
Well-

James Garretson (00:09:45):
So all these people got up there and-

Paul Malagerio (00:09:49):
Shit on Lowe?



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James Garretson (00:09:50):
They started to shit on Lowe but here's the deal. They started to shit on Lowe and Lowe got up there
and he basically said, "Yeah, don't believe everything you hear because a lot of my problems stem from
a guy named Jeff Johnson that had a love affair with Joe and he got disgruntled. They had a love affair
and falled out. And fucking Jeff Johnson is fucking livid." Then Lowe got up there and just fucking
[inaudible 00:10:19].

James Garretson (00:10:19):
But Jeff Johnson never showed up. Oh he wasn't there? No, he wasn't there. So, Lowe shit on Jeff
Johnson. So what does Lowe do? I mean he's smart, I would've done the same thing probably in his
opinion. He pulls out some baby monkeys and lets everybody play with them.

Paul Malagerio (00:10:38):
At a town meeting?

James Garretson (00:10:40):
Yes.

Paul Malagerio (00:10:41):
And they all loved him after that?

James Garretson (00:10:43):
Yes.

James Garretson (00:10:45):
And guess who was with him.

Paul Malagerio (00:10:47):
Who?

James Garretson (00:10:48):
Stark.

Paul Malagerio (00:10:49):
Yep.

Paul Malagerio (00:10:50):
Yeah. I told you, at the interview he was there holding the monkey.

James Garretson (00:10:54):
Yep. So Stark is 50 50 owners in that place down there. I guess Stark is spending all the money to build it
out.



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Paul Malagerio (00:11:05):
Yeah. Well.

James Garretson (00:11:07):
But I went by there the other day on the way home from work and there was no fencing. Nothing.

Paul Malagerio (00:11:12):
So.

Paul Malagerio (00:11:14):
Okay. Well if Stark's there at a meeting, okay, he's living in Oklahoma. He's staying somewhere and
doing whatever because he was in that newspaper or, sorry, that article that came out and I guess it was
probably filmed there. See okay, now this is great because when it falls, when it goes to shit and it will,
Stark loses money.

James Garretson (00:11:36):
Yes.

Paul Malagerio (00:11:38):
Yeah.

James Garretson (00:11:39):
So Stark is moving all his stuff down here on this 30 acres of land.

Paul Malagerio (00:11:47):
Okay. Is he closing up Indiana?

James Garretson (00:11:49):
Yes.

Paul Malagerio (00:11:51):
And was that in the article or was that at the meeting?

James Garretson (00:11:54):
That's what somebody that attended told me, that Stark was there. They basically go through this whole
thing. And then basically what Jeff Johnson told me kind of confirmed what my realtor friend tells me.

James Garretson (00:12:08):
So yeah. So Jeff Lowe pretty much soothed all the people in Thackerville.

Paul Malagerio (00:12:16):
Soothed?



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James Garretson (00:12:17):
Soothed them over, smoothed them over.

Paul Malagerio (00:12:18):
Well, that won't last.

James Garretson (00:12:22):
Yeah. But you know.

Paul Malagerio (00:12:23):
So what about the lady that's doing some litigation against his illegal road.

James Garretson (00:12:29):
I don't know if that's true or not. Tom Lowe told me that the fucking. Get down Billy. Get down. That Jeff
Lowe was trying to buy the lady that has the easement by her property for 3000 dollars a month and a
balloon payment in five years.

Paul Malagerio (00:12:54):
Using Tim Stark's money.

James Garretson (00:12:55):
Yeah.

James Garretson (00:12:58):
But I actually went down that dirt road and all I saw was a big bulldozer plowing down trees. That's all I
saw.

Paul Malagerio (00:13:07):
Yes.

James Garretson (00:13:09):
No fencing, no poles, nothing.

Paul Malagerio (00:13:13):
And it's April next week. And that's April, May, June. And they're going to open in July. What do you
think?

James Garretson (00:13:18):
Oh, there's no fucking way. They won't even have a perimeter fence done by then. It's all trees, it'd
fucking take you fucking forever.

Paul Malagerio (00:13:26):



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Yeah. So the other side of it is, is how soon. Well, you'll find out this week coming up. How soon Carole
Baskin is going to have GW property and-

James Garretson (00:13:37):
I'm going to drill fucking the Baskins. And I'm going to record them fucking whores talking shit about
everybody too. Yep.

James Garretson (00:13:45):
Yep. I'm going to drill that fucking Baskin.

Paul Malagerio (00:13:47):
Yeah. I mean, whatever the court thing is. But Jeff Lowe should be taken off the property and then I
think Joe is going to need another operator and manager.

James Garretson (00:14:00):
You know it could be this too. Come on Billy, get down please. It could be that Jeff Lowe is just going to
abandon ship and just go over there with Stark, take what animals he wants and leave the rest to Carole.

Paul Malagerio (00:14:10):
Yeah. Because he doesn't care.

James Garretson (00:14:11):
So that could be his take. Though how he got Stark convinced to put money in, who the fuck knows.

Paul Malagerio (00:14:22):
Okay. But Stark's got some legal problems coming up. Is this because, are they going to be hanging with
somebody else's USDA permit? Because neither one of them are going to have one.

James Garretson (00:14:32):
Yeah. Stark might be using his way to make money showing Lowe his little tricks and trades to his little,
whatever he does, little encounters or whatever.

Paul Malagerio (00:14:44):
Okay. Okay. Here is the complete bottom line on this. Nobody can be a partner with either one of those
guys. We can sit back and fireworks will happen between them.

James Garretson (00:14:57):
Oh yeah.

Paul Malagerio (00:14:59):
Because Stark is going to put up X amount of dollars and Jeff's going to get 50% of everything after that.
If Stark's not there on the property counting every dime he'll never see it. How long until he shits on Jeff
Lowe.



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Paul Malagerio (00:15:13):
Neither one of them can be trusted.

James Garretson (00:15:15):
No, it's going to be a fucking disaster. And there's no way Jeff Lowe's going to fucking share any money.

Paul Malagerio (00:15:20):
No, no. He's jumped on another cash cow that he's going to fucking rape.

Paul Malagerio (00:15:26):
So in that thing I sent you, Jim Garrett makes a comment about a sanctuary. The owner has MS and will
give up some of her animals. So that's obviously Lori.

James Garretson (00:15:35):
Lori.

Paul Malagerio (00:15:39):
I got an in where I'm going to maybe, that hot looking blonde that I used to hang out with when I was
there, I haven't talked to her in a while. Fucking gorgeous Kim Cooper. She sent me something today and
I guess she wants to talk or whatever. And I might ease into that. I don't see Lori. Lori doesn't give up
animals. She doesn't send animals anywhere.

James Garretson (00:15:59):
She will if she can't take care of them anymore or whatever fucking-

Paul Malagerio (00:16:03):
Well, she might downsize a bit, but that's what people have been telling her for years.

James Garretson (00:16:10):
Yeah.

Paul Malagerio (00:16:10):
And she won't do it. She's a hoarder. And I love Lori. I know she shit on me, but every morning she gets
up with a smile at 8:30 and drags her leg. And she loves what she does there.

James Garretson (00:16:20):
Yeah.

Paul Malagerio (00:16:20):
She was still bringing animals in. So to give up on anything would be an admission that she can't do it,
which is a really tough thing to do. And so she wants to give away. She tried to sell a couple of farm
animals, but she wanted to make sure that the mini pony went with the donkey because they hang out



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together, but they can't go separately. So I mean, that's someone that's not going to just give an animal
to somebody else.

James Garretson (00:16:43):
But Jenn Garrett, what is she? Is she trying to build her place at that fucking idiot's house? That Nicole
and whatever.

Paul Malagerio (00:16:52):
That's what I got from reading the message. This lady that contacted me, she's going to find out more
and send me more information, but I don't really want to impress her with it. I'm too involved.

Paul Malagerio (00:17:03):
When Darlene sent me a message one morning, I was up, I guess she saw I was on Facebook. She goes,
"Hey, how are you?"

Paul Malagerio (00:17:08):
And I waited 12 hours I said, "Oh, not bad. How about you?"

Paul Malagerio (00:17:12):
And I said "is that cunt still bothering you," or, "is that bitch still harassing you."

Paul Malagerio (00:17:16):
She says, "Yes, we might need your help." And I haven't replied to that because I'm not doing a fucking
thing to help her. I don't fucking care. What am I going to do? Talk to her lawyer and go to fucking
Illinois on my own dime and stand up in court.

James Garretson (00:17:29):
Just like I told Darlene, a lawyer is just going to cost her money because the lawyer's not going to do to
her because she don't have anything.

Paul Malagerio (00:17:40):
Yeah, yeah. So she-

James Garretson (00:17:42):
I mean you're going to get nothing.

Paul Malagerio (00:17:44):
Right. Right. Maybe a criminal charge because you would need a criminal charge to stop the
harassment.

James Garretson (00:17:49):
Yeah. You're not going to get anything out of those fucking people. I mean that's why just LT, look at all
the judgements he has against that sorry fuck.



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Paul Malagerio (00:17:57):
Yeah. Well hopefully we can start on fucking [inaudible 00:18:01] new job. So I'm not kicking a beehive
with Jenn so she can call on Darlene and her new little project and asking for my. People aren't going to
give her money. She's a fucking idiot.

James Garretson (00:18:11):
No. Ron Jeremy might give her a dollar.

Paul Malagerio (00:18:16):
He wouldn't give her nothing. He wouldn't give her a fucking dime.

James Garretson (00:18:20):
That guy is such a disgusting fucker too.

Paul Malagerio (00:18:23):
Yep. He's gross. 70 year old douchebag. So let's let them focus on that. Let Stark and Lowe think they're
going to be partners. The next couple weeks you can see how that's going to change. Jeff Lowe's legal
issues. Let's start. Okay. So partners 50 50 and Stark is sitting back going, "Yeah, when Jeff Lowe's in jail,
I guess it's all going to be mine. Yeah. I'll send you some money-"

James Garretson (00:18:48):
Yeah. Yeah. Yeah. Yeah. They both have motives both sides.

Paul Malagerio (00:18:48):
Yep. So, okay. So how's it going with the property? Because if you hang your shingle, by the end of June,
we got cubs and-

James Garretson (00:19:02):
Yeah. I'm going to try to get the cage up. Probably start on that Monday. I'll get Justin to go there and
start on that Monday.

Paul Malagerio (00:19:08):
So are you living there yet?

James Garretson (00:19:11):
No. No. I'm still at the shop. No, he was supposed to have his stuff out this week. So I'm supposed to
have the keys this week. Probably tomorrow and then.

Paul Malagerio (00:19:19):
Okay.

James Garretson (00:19:19):
I can't do anything until after this fucking court's over.


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Paul Malagerio (00:19:22):
Yes. Yeah. I get that.

James Garretson (00:19:25):
And then, fuck, if I've got to sit down there and not go up. Now, they said that I might not even go up
until Thursday. Have I got to sit there from, they're claiming Saturday, till Thursday, for what?

Paul Malagerio (00:19:37):
Fuck that. You got to go to work.

James Garretson (00:19:39):
[inaudible 00:19:39] shit. Motherfucker.

Paul Malagerio (00:19:42):
Yeah. I think-

James Garretson (00:19:42):
So listen, if Jeff Johnson wouldn't have fed Joe that shit. He would have already plead it, I think.

Paul Malagerio (00:19:53):
Okay. So when he phoned you again, did you send that to anybody? Did you share it?

James Garretson (00:19:59):
Haven't yet. I'm too busy. I haven't yet no.

Paul Malagerio (00:20:04):
They're just useless or doing anything aren't they?

James Garretson (00:20:07):
Yeah. I just got the fucking water on in the shop today. Fucking been dodging that bullet for fucking
ever.

Paul Malagerio (00:20:14):
Now you can flush.

James Garretson (00:20:16):
Yeah. It took forever to get all turds out of the fucking system.

Paul Malagerio (00:20:21):
You should have bagged them and throw them over GW fence.

James Garretson (00:20:23):
Yeah. So, yeah, they had their little town meeting and fucking Lowe climbed his ass out of it.

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Paul Malagerio (00:20:34):
Well, it's not up to the town meeting to decide that. Okay. Because whatever went on there, I mean,
he'll go home thinking he's got everybody snow, but you know that's going to wear out pretty quick
when he starts to shit. He's an actor.

James Garretson (00:20:45):
Yeah. So Jeff Johnson hasn't been on the GW site at all?

Paul Malagerio (00:20:50):
Last post was Friday.

James Garretson (00:20:54):
What did he say? He is going to suck Dick or what?

Paul Malagerio (00:20:57):
Yeah, let me just look at it. When was that town meeting?

James Garretson (00:21:03):
Somewhere up in Thackerville. Marietta, Thackerville, somewhere up there. I heard it was about 40
people.

Paul Malagerio (00:21:19):
When was it?

James Garretson (00:21:20):
I heard it was about 40 people.

Paul Malagerio (00:21:20):
When?

James Garretson (00:21:21):
Oh, it was last week sometime. I don't know.

Paul Malagerio (00:21:24):
So I'm surprised that it wasn't more public as to what was going on. Okay.

Paul Malagerio (00:21:28):
Five hours ago, Rebecca Ward on the site says, "Any new updates?"

Paul Malagerio (00:21:33):
Four comments. I can only see one which is strange and someone else says, "I've been wondering too."

Paul Malagerio (00:21:38):


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I can't see the other three comments.

Paul Malagerio (00:21:40):
Monday 3:08, Lynn Culver wants to know if somebody can share the information from the trial. And two
people said, "No, they can't because phones aren't allowed.

Paul Malagerio (00:21:49):
March 15th, 11:40. Jeff Johnson. He says, "After today I have to go silent for a while. I've reached out
repeatedly to our side only to see the ugly truth. I'll speak when I can, but not until then. Like I said
before, thank you all very much for helping to fight this fight."

Paul Malagerio (00:22:06):
Thank you for sending emails, texts, et cetera, to the deaf ears of many law enforcement agencies. I
have no choice but to take another avenue. We'll talk soon."

Paul Malagerio (00:22:16):
He just turned into fucking Joe Exotic. Did you hear that?

James Garretson (00:22:22):
Yeah.

Paul Malagerio (00:22:22):
That's exactly what Joe would do. He's taking another avenue. So he is going to jump ship and he's going
to go and do what? Why would he even think of. He's not subpoenaed to go there and what's he going
to tell Joe's lawyers? He's not part of this. He never saw anything. He never witnessed anything. What's
he's going to be a character reference? How quick will that get shit on?

Paul Malagerio (00:22:47):
He's inserted himself in this and what part can he play in this?

James Garretson (00:22:51):
Well, here's what he told me. He says, "Well, when I go there and give them my laptop, Joe's going to
walk."

James Garretson (00:23:03):
I'm like, and then I'm just thinking. The other thing, is anybody even smart enough to know who fucking
Joe's lawyers are. They're public defenders. Okay? They've done no homework. They've haven't came
and questioned me, which they should have done being a defense. They've done no fucking homework.
So they're public defenders. Even if we are all incredible, he's still going to fucking get a charge on one of
the counts or two of the counts.

Paul Malagerio (00:23:40):
Yep.



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Paul Malagerio (00:23:41):
Yep.

James Garretson (00:23:41):
And the [inaudible 00:23:42] comes with five years. Per count.

Paul Malagerio (00:23:44):
Yeah.

James Garretson (00:23:45):
Well, if he gets two of those, that's 10.

Paul Malagerio (00:23:48):
Yep.

James Garretson (00:23:49):
What, they're going to give him time served for six months. No, it don't work that way in federal court.

Paul Malagerio (00:23:53):
Yeah. He better take the 15.

James Garretson (00:23:57):
Take the fucking deal or do life.

Paul Malagerio (00:24:00):
Okay. If he takes 15, he'll get out in what, 10 years is it two thirds?

James Garretson (00:24:05):
No, they're going to do probably 90%.

Paul Malagerio (00:24:10):
Really?

James Garretson (00:24:10):
Yeah.

James Garretson (00:24:11):
You go to state jail, state jail's three for one. Feds, you got to do about 90% of your time. Yep.

Paul Malagerio (00:24:21):
Well, okay. Then the other side of the coin is, he knows he's guilty. He knows he's fucked if he gets
convicted. So why not have a last fight and see what happens? Maybe he thinks all of the innuendos and
bullshit and shitting on witnesses will discredit everybody so bad that there's this just. He's going to put

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all of his faith in these 12 jurors because he knows when he gets up and talks and tells them how great
he is, that they're going to love him.

James Garretson (00:24:48):
Come on. No, he's not that stupid.

Paul Malagerio (00:24:49):
That's Joe.

Paul Malagerio (00:24:51):
You know he actually is delusional, the Christmas parade, Jeff Lowe and Lauren are in a cage with Lisa
Marie, the Tiger Cub. And Joe's on the back with Mark, with a big black cowboy hat on-

                                        PART 1 OF 4 ENDS [00:25:04]

Paul Malagerio (00:25:03):
We're back with Mark, with a big black cowboy hat on and a suit jacket because he's Joe's presidential
bodyguard. So Joe's got the leg brace and a microphone. And these people online, okay, Pauls Valley,
just magnify ringing. That's what's sitting at the side of the road for the float.

James Garretson (00:25:16):
Yeah.

Paul Malagerio (00:25:17):
And Joe jumps off the back of the fucking parade float and runs like a flit with his hands in the air and
slaps hands with a couple people who are pointing and laughing at him, laughing, and jumps back on the
float. And he turns to me and I'm standing there and he goes, "They love me. They just loved me. Oh
look, they just love me. Oh, look, they love me." And Gretchen and I looked at each other and we broke
out fucking laughing. And then Jeff Lowe say yesterday to Lauren, she goes, "What's he need the knee
brace for? We saw him running. He was running around the plane. Why does he have a knee brace on?"
This is before they realized what he was. We all start fucking laughing.

Paul Malagerio (00:25:52):
He is in that delusional state where he thinks, because he's been successful at it, that he will snow
people. And he wants to talk to everyone of those jurors. And he's going to go, "And I'm going to tell you
right now, I've been a victim of this and... " and that will have nothing whatsoever to do when they get
the last word, when the prosecutor defense and the judge gives them their ignore this, ignore that and
just go by the facts. Well, the facts are you shot five cats and his little holes in their head that probably
match up with your gun. And here's two witnesses that saw you do it. Oh, by the way, there's John
Finley. There's the videotape. There's the tape recordings. There's the hired killer. There's the FBI agent.

James Garretson (00:26:40):
Yeah. It's like, what the fuck? I just think he's going to fucking plea it right before or the day before or
something. I just have a feeling.



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Paul Malagerio (00:26:46):
Well, that would be anticlimactic. That would be like... Okay. Okay. The best thing is, if he does that, the
only person that knows more about this case than the government is you. And that's when you decide
who to say what to who...

James Garretson (00:27:05):
Oh, yeah.

Paul Malagerio (00:27:05):
... and get those checkbook lined up for the fucking book and the story.

James Garretson (00:27:10):
Yeah. And I really do think he's going to fucking plea the day of or day before. Because what's Carole
Baskin? She's a fucking professional liar, Baskin. She's going to get up there and she's going to say all the
evil things that Joe's said and talked about her. She's going to have them motherfuckers convince the
jury that he's guilty, right then when Baskin talks. Nobody can lie like that bitch, nobody.

Paul Malagerio (00:27:40):
Yeah, but through cross examination, she's asking to have proof, not just hearsay.

James Garretson (00:27:45):
Yeah, but she's real fucking believable. That bitch can cry on a drop of a dime.

Paul Malagerio (00:27:49):
Okay, but that could go one or two ways. It could add to the reason why... If she's not really good,
somebody in that jury's going to say, "Yeah. Fuck, I wish you did shoot the bitch."

James Garretson (00:28:05):
Yeah, yeah, yeah.

Paul Malagerio (00:28:07):
I think it's a bad idea, her testifying.

James Garretson (00:28:12):
I don't know, man. That bitch can convince people to give her four and a half million dollars as a matter
of that place is state of the art. And when you look at it, it's a rusty old fucking crap hole.

Paul Malagerio (00:28:22):
Yeah. Well, she's going to go up there and be shmirky and smug. And they're not going to like her. They
might not believe... Whether they believe it or not, they're not going to like her, and that'll sway
somebody. And it just takes one. But that's just the murder for hot. That's all that is. That's nothing to do
with the documentation and the paperwork.

James Garretson (00:28:42):

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Oh, yeah, yeah, yeah.

Paul Malagerio (00:28:45):
So I mean, we're going back and forth on this. We could do it a million times, but in a perfect world,
Monday at 10 o'clock you're coming home and you're done with that fucking shit.

James Garretson (00:28:54):
Yeah, yeah, yeah, yeah. That's what I'm thinking.

Paul Malagerio (00:28:56):
Well, here's what I found out what I can do. The information you sent me, you sent Jason a picture of
the tag and I've got a picture of the insurance card. I can send that to Debbie, Jason's wife, and she can
print that.

James Garretson (00:29:17):
Yeah.

Paul Malagerio (00:29:18):
I can have that with me. So what they'll do, if I do get pulled over, you're allowed in this state to fill
electronic whatever, and I'll show on my phone and explain this is by tag in that because that way-

James Garretson (00:29:31):
But you don't even need do that because here's the deal, when they run your tag, they run your tag
before they you pull you over. Your tags going to come back current. So they're not going to-

Paul Malagerio (00:29:41):
[crosstalk 00:29:41].

James Garretson (00:29:41):
Yeah, it doesn't matter if you don't have your sticker on it, it's going to come back as fucking registered.
So they're not going to write you a ticket or anything for it.

Paul Malagerio (00:29:47):
But they can still stop and ask me why it's not displayed.

James Garretson (00:29:50):
Yeah.

Paul Malagerio (00:29:51):
Yeah. Okay, now my only concern, I'm only going from here to Dallas with my truck and then from Dallas
back here.

James Garretson (00:29:56):



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Yeah.

Paul Malagerio (00:29:59):
You know I'm a a bit paranoid about going. I've got to sneak my truck into town to get some work done
on it and the tires rotated, because it's been wearing out on the inside due to some problem with the
front end, fucking piece of shit. And I've got to take out an air hose and blow the dust out of the whole
inside of the truck. It's fucking disgusting. I got a vacuum and I started moving my stuff in this little,
shitty trailer. Everything I moved had brown dust on it. It was just on everything, covered. So I stopped
vacuuming and using wet paper towels and I go through a half a roll. And then I hear outside, the wind
started to blow again. And then the hot water tank went out and then the heat stopped working. And I
don't, you're in a rougher spot than me, but I don't want to like this. This is fucking ridiculous.

James Garretson (00:30:49):
Yeah. As soon as you get back... What day are going to get back, Sunday probably or Saturday?

Paul Malagerio (00:30:52):
I could be back Friday night.

James Garretson (00:30:58):
Man, that fast?

Paul Malagerio (00:31:00):
Well if I'm done Wednesday at one o'clock, two o'clock, three o'clock, I've got a couple things to do
before I leave there. So I'll leave sometime Wednesday night, Thursday morning, and I can be back here
Friday night.

James Garretson (00:31:14):
Yeah, because I've got to get the animals moved before the end of the month because Doug's hitting the
road with the tigers. So I've got to get everything moved by the end of the month.

Paul Malagerio (00:31:27):
Okay. All he's really going to move for you is a Hidalgo, Clarence and Mr. Water Buffalo.

James Garretson (00:31:32):
Yeah.

Paul Malagerio (00:31:33):
That's all you really need the help with. You don't even need him for that. You could do it yourself with
his truck.

James Garretson (00:31:39):
No, I can do it myself, but we're going to have that talk with Jason.

Paul Malagerio (00:31:41):


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You know what? Yeah. Fuck.

James Garretson (00:31:45):
We're going to try to talk about this USD shit. It's going to be a nightmare.

Paul Malagerio (00:31:53):
Okay, I've got a little buggy whip and I got Thor standing up, and on command I said, " Do the verbal
with the physical coordinators so the cat understands the command. But we're only going to do it a few
times because he is a beta. I don't want him jumping up." And he jumps up. I said, "Make sure he goes
left to right, not towards you as he's jumping." And he just uncoordinated. And then Thor did something
and he whipped the whip around his face. I said, "No, no, no, no, no. Never, never, never use that whip
around his face. He'll lose a fucking eye. Don't use the whip around his face." And I said, "Don't let him
touch the whip. Don't let him contact it." Well, the cat grabs it. I said, "Don't let him get ahold of it. Keep
it ahead of him." The cat grabs it. "Don't do this. Don't do that." And he just from one second... So I'm
trying to train him just to do a little simple task with the cats.

James Garretson (00:32:38):
Yeah.

Paul Malagerio (00:32:39):
And it's repetitive and he's loving it. He's enjoying it. He's laughing. He's having such a great time, but
he's not reading the animal the way you would, the way someone else would see it that's done this.

James Garretson (00:32:51):
Yeah.

Paul Malagerio (00:32:52):
And I kind of get frustrated. And I said, "Now, don't don't whip around his face. Lead him with it. Lead
him with it, do it like this." And Thor is freaking great. Sorry, Hulk. We're doing that with Hulk. I said,
"Now, let's try it with Thor." Well, Thor, I said, "Don't let him jump too high. He's only a year old," and
I'm codling their bones because I've seen bad stuff happen. I said, "Don't let him jump where he lands
and falls backwards. He could hurt himself."

Paul Malagerio (00:33:18):
Well, sure enough he jumps and falls and slams backwards and he doesn't move. And I said, "Put the
whip away." I go, "If he's hurt, we fucked him up, we fuck him up for life." And I called him and he
walked. He was okay. I said, "Okay, no more Thor jumping. Okay? Until we go, he's going to go left to
right, not jump too high. I don't want him landing on one leg and getting hurt. All right? It's fun, but
we've got to really think ahead. So we'll do it for a few minutes and then just give the cats a break." But
freaking Hulk is just amazing. He's looking, he's looking. He's like Tigger. He's looking, okay, what can I
do? What could I do? What can I do? I'm impressed with him.

James Garretson (00:33:56):
When they're young, the tigers like to be trained. It keeps their mind stimulated.



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Paul Malagerio (00:34:01):
Yes, yes. Jason's been really good with that. We've got huge truck tires in there. We got 45 gallon plastic
drums. He went and got huge spools. And I went over them with a fine tooth comb. I took out and nails
and staples. I wheeled one in and Jax was up there with his traffic cone and he freaking loves it, and we
got them doing stuff. And I said, "We don't want them board." And he agreed on Sunday that we were
going to put the panels up. I said, "I don't want to leave here with these cats in this." And he said, "Fine."
And that was Saturday. And I told his wife that. She says, "I'm glad because he's stubborn and blah, blah,
blah." Well, he's yet to do it and it's not going to get done. One day I said to him, I said, "Hey, can we
move this so we don't get to do that?" He said, "Oh, we can do it tomorrow. We could do that
tomorrow."

James Garretson (00:34:48):
What does he do all day?

Paul Malagerio (00:34:51):
Not much.

James Garretson (00:34:52):
If you don't pick up shit then what does he do, just throw feed in?

Paul Malagerio (00:34:57):
Buckets, buckets full, buckets full. You've got to see this. The goats, and there's maybe 60, 70 goats.
They only need a dozen. And I keep saying, "Hey, can we sell some? Hey, the cats will eat this. Hey, can
we do that?" "Yeah, we should get rid of some." Well, no. They're dropping a half dozen a week and
they're spending money bottle feeding them. So the other day he said, "I'd like to sell those two
lemurs." I said, "Good." I says, "What do you want for them?" I said, "You could probably sell them.
They're two beautiful lemurs. You might get a thousand bucks." I go, "That's seven bales of a hay and a
hundred bucks for gas." And he looks at me. Because they're at a horrible fucking enclosure.

James Garretson (00:35:38):
Are they a breeding pair?

Paul Malagerio (00:35:41):
They're two females. The most useless fucking lemurs in the world. And they're they just in a filthy little
enclosure. They're miserable. They took a run at me the other day and I kicked one. There's just fucking
assholes. They're miserable, miserable, little fucking animals in a shitty fucking enclosure. And I said,
"Sell them. Let them go somewhere where they can have a great life. Maybe somebody will enjoy them.
They'll assimilate into a troop." I said, "Because right now, they're they're in a pretty rough spot."

Paul Malagerio (00:36:06):
He kind of looks at me and he hears me. He understands that. I'm not belittling the violence, but let's do
what you and him and I do every day, we try to think how to make animals lives better. Let's continue
that. And I not think of how we feel. He's not going to miss them. He's never been in there with him. He
never spends time with them. His two tortoises died last week. He had a couple cicadas and a big metal
drum and just found them dead one morning. They're not sure if they froze to death or what?

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James Garretson (00:36:39):
Yeah, turtles can't be outside in this weather.

Paul Malagerio (00:36:42):
Well, they had to be in. They brought them out and then he had two, maybe four porcupines born. And
they talked about pulling them because they could do something with them. And they're about two
months old. I looked in the other day and one's laying there and its head's not on it. Okay, so here's
what I say. I called them over. I said, "Okay, what do you think happened? We've got three adults in
there, two babies." "Well, maybe one of the adults didn't like it." As we're talking, the mom is beside it
and the other female went at the baby and the mom snarled and backed it up. I said, "Okay, can we get
that one other there so it's alive tomorrow? Let's be proactive. I don't want it to die. You don't want to
die." I was kind of upset in seeing a dead baby like that.

Paul Malagerio (00:37:25):
"Let's get it out or could I put some wire in there?" And he kind of looks at me and he said, "Well, there's
really no for it to go." And I just walked away. I stopped talking. I just stopped. It takes something out of
me where I just, I shut off. And that's not my thing. If there's animal's hurt, I don't like that. So the goats
have, there's a good foot and a half mound of hay and shit that they just keep dumping rolls of on that
has never been cleaned. And they have to add fencing height wise. You would not believe it. "There's a
lot of hay wasted in there, Jason." He said, "Yeah, that's what the goats do. They just shit on it." So a
round bell lasts them less than a week and it's 150 fucking dollars.

James Garretson (00:38:15):
They must have another way they get money because they don't make that kind of money at the petting
zoos.

Paul Malagerio (00:38:22):
I don't ask. She probably made 30 grand when she was gone for a few weeks.

James Garretson (00:38:26):
Yeah. But I had a petting zoo on the road before. They don't make that kind of money.

Paul Malagerio (00:38:30):
Well, they had a contract. So the one year they made 40 grand doing it for, I think, four, five, six weeks.

James Garretson (00:38:36):
Yeah.

Paul Malagerio (00:38:38):
But once they pay their staff and housing and fuel and costs and whatever, I mean, it gets whittled down
pretty quick.

James Garretson (00:38:45):
Oh, yeah. That's what I'm saying. [inaudible 00:38:49].


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Paul Malagerio (00:38:49):
Yeah. So I mean, and they work hard at it because it's a pretty rough, dirty job. It's going to get worse
because it's just filthy. But the guys put the cement out for the walkway between the enclosures. It's
huge. And there's fucking a whole pile of rusty poles sticking 12 feet up in the air and poles beside that
for the walkway and he's building his perimeter fence attached to the enclosure. He is doing twice as
much work as he has to.

James Garretson (00:39:18):
Yeah.

Paul Malagerio (00:39:19):
And I went over repeatedly and I'm looking at what this is costing. And my suggestions were not to
belittle his plan, but to save him thousands of fucking dollars. And okay, now, and he could be my friend
for the rest of my life, but he's not somebody you can work for or work with.

James Garretson (00:39:36):
Yeah.

Paul Malagerio (00:39:38):
It's kind of like LT Garrett. It's not that bad. I should insult him but just to have one way of thinking of
something and nothing else really matters even when you present a really good thing. And in this
industry, you've got to be proactive, and there's no proactive stuff done.

James Garretson (00:39:55):
You've got be proactive and you've got to clean poop.

Paul Malagerio (00:39:58):
Well, I have not picked a one wheel barrel of poop since I've been here's, and that's when I [inaudible
00:40:04]. The poop I pick up is I get a half a shovel from the three cubs.

James Garretson (00:40:09):
How bad is it with their Campbell enclosure? Is it just horrible?

Paul Malagerio (00:40:13):
Well, they have a large, massive area. They've got acres to run in.

James Garretson (00:40:16):
Oh, okay.

Paul Malagerio (00:40:18):
Okay, but now they're all confined to three large enclosures that are maybe a hundred feet by a
hundred feet.

James Garretson (00:40:24):

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Gotcha.

Paul Malagerio (00:40:25):
And there's 50, 60 fucking big animals in there. Now, when they were running all around the cats, there
was a trail of fucking, oh, that's camel poop, oh, that's donkey poop. And you have to step over it to go
into the cat enclosures. And I said, "You want this raked up?" He says, "Oh, that's okay. The dogs will
take care of it." The dogs there, and I'm looking at that and I'm going, "That's fucking disgusting." The
dogs are nice, but they all want to come over and give me a kiss. Like fuck, get away from me. Right?
They're fucking filthy. It's fucking nasty.

Paul Malagerio (00:40:57):
I shoveled for two hours yesterday to get the sand away from Nikki's two doors so I could open his doors
because the sand, it's just like a movie from the Sahara. You leave something on the ground and the
sand just buries it and piles around it. And it just, oh, the guys are working, they're on the oil rig. It's
basically on his property. It's about maybe 300 feet from the enclosures. And I go, "What the fuck is that
smell?" He says, "Oh, that's the chemicals they're using to do this." And all day long it's a big, huge crane
taking all the piping out and it's beeping, beeping. And Nikki wouldn't. He wouldn't come out of his
igloo. And the stench of chemicals in the air, I mean, this is one filthy part of the world.

James Garretson (00:41:43):
I can't even believe it's worse than Ringling.

Paul Malagerio (00:41:45):
Oh, God. Yeah, it's a lot worse than Ringling.

James Garretson (00:41:50):
That's one town I'm ever driving through ever again in my life.

Paul Malagerio (00:41:54):
Well, drive through it and throw out roofing nails. Have some fun.

James Garretson (00:41:58):
Yeah. That's a good idea. Let me go to city hall and get right on that.

Paul Malagerio (00:42:03):
You're not done with them fuckers yet. It's just, I've been getting these headaches and my sinuses are all
plugged up. I've been rinsing my nose out, but my lungs are congested. I can't breathe. I bend over, I get
lightheaded because my sinuses are... Because every step I take dust comes up in the air. Everything's
got this fine dust, this fine dirt and I've been breathing that in. Oh, shit, these coughs and headaches.

James Garretson (00:42:39):
We're going to have a a new golf cart at the new place.

Paul Malagerio (00:42:43):


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Where are you getting a golf cart?

James Garretson (00:42:45):
We don't have a golf cart. It's a Dodge Durango that I'm about to chop into a golf cart. I'm about to cut
the roof off it. I'll be good to have a car port or something to inside a roof because it's not going to have
a roof. We're going to make a truck out of it.

Paul Malagerio (00:42:58):
Oh, fuck.

James Garretson (00:43:00):
Maybe mount a welder in the back.

Paul Malagerio (00:43:03):
There you go.

James Garretson (00:43:05):
Yeah. I took that one to Tractor Supply Carts the other day and went and got me a new welding machine
and a chop off saw.

Paul Malagerio (00:43:12):
Hey Finley, Finley, Finley. Come on.

James Garretson (00:43:17):
Yeah, so start fucking welding. But yeah, we're going to a convertible of it.

Paul Malagerio (00:43:23):
Okay, so what else? Okay, so I just want to make sure we're locked into that car so when I get to
wherever I'm going...

James Garretson (00:43:33):
Oh, we're good. It's already reserved.

Paul Malagerio (00:43:35):
And is there a place where you can leave it where I can leave my truck that'll be safe for the five days?

James Garretson (00:43:41):
Yeah, I'll make it or we'll leave it at the club.

Paul Malagerio (00:43:48):
Is there a chance, like how are you going to take the car unless you've got someone to go with you? Can
you bring it back to Ardmore and I'll just go there? Would that be safe?



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James Garretson (00:43:56):
I can't get it all the way back to Ardmore. I can leave it... Well, I mean, let me see.

Paul Malagerio (00:44:02):
What about the farm?

James Garretson (00:44:04):
Well, I can. I've just got to figure out somebody. Everybody I work with, they live in Dallas.

Paul Malagerio (00:44:08):
Okay.

James Garretson (00:44:10):
Yeah, so you're leaving Monday, because I was going to go do all this... Well, it'll be Sunday morning
anyway. I'll go pick it up and...

Paul Malagerio (00:44:22):
Yeah.

James Garretson (00:44:22):
Let me see if it at the shop then you can just leave your truck at the shop.

Paul Malagerio (00:44:26):
Well, maybe my truck at the shop isn't the safest place around.

James Garretson (00:44:37):
Oh, yeah. Nobody's going to fuck with it. I haven't seen any haters or heard from any haters. It's been
kind of weird.

Paul Malagerio (00:44:41):
Okay. Okay. How about this? What about the airport parking?

James Garretson (00:44:44):
No, they charge too much. $20 a day.

Paul Malagerio (00:44:48):
There's not a long term one?

James Garretson (00:44:51):
Yeah, it's $20 a day.

Paul Malagerio (00:44:56):
Okay.

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James Garretson (00:44:57):
Yeah, let check the rental car place. We'll find a place to put it.

Paul Malagerio (00:45:02):
All right. All right.

James Garretson (00:45:14):
You know what I could do? Yeah, I'll figure it out tomorrow. We'll get it figured out. Don't worry about
that.

Paul Malagerio (00:45:19):
Because you don't have a date yet when you take possession of the new place.

James Garretson (00:45:22):
It's supposed be this week. He said he'd have everything out this week. So I'm going to probably call him
tomorrow.

Paul Malagerio (00:45:30):
And Justin doesn't have a license, does he?

James Garretson (00:45:33):
No, he can drive, but it's kind of scary. He hasn't driven in 20 years.

Paul Malagerio (00:45:39):
That's interesting. So what are you driving now, the Durango?

James Garretson (00:45:46):
The what?

Paul Malagerio (00:45:46):
What are you driving now?

James Garretson (00:45:47):
Well, I was driving the Durango. I parked it today, decided to make it into golf cart. Since I've been
working here, I've been fixing my credit every day. I went and bought me a fucking truck.

Paul Malagerio (00:46:01):
You're getting a truck?

James Garretson (00:46:02):
No, I got one today. They delivered it a couple hours ago.

Paul Malagerio (00:46:08):


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What'd you get?

James Garretson (00:46:09):
It's a Toyota Tundra, brand new one.

Paul Malagerio (00:46:12):
Oh, so how much a month?

James Garretson (00:46:14):
It's under 404. 460. It's a 40,000 truck.

Paul Malagerio (00:46:19):
Is this a lease or purchase?

James Garretson (00:46:22):
It's a purchase. I got like 5% interest.

Paul Malagerio (00:46:25):
Oh, so you purchased it?

James Garretson (00:46:26):
Yeah, yeah, yeah. I don't have a payment for 60 days. Oh, yeah.

Paul Malagerio (00:46:30):
Cool.

James Garretson (00:46:30):
That fucking Durango, I got pulled over in it twice, so two tickets this week.

Paul Malagerio (00:46:39):
For?

James Garretson (00:46:40):
The tags. It doesn't have a tag.

Paul Malagerio (00:46:43):
Who pulled you over?

James Garretson (00:46:44):
I got hit in Gainesville and I got hit in Marietta.

Paul Malagerio (00:46:47):
On the highway?

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James Garretson (00:46:49):
Yeah, in one fucking day.

Paul Malagerio (00:46:53):
Oh.

James Garretson (00:46:53):
An Oklahoma trooper and a Texas state trooper.

Paul Malagerio (00:46:58):
Oh, okay.

James Garretson (00:46:58):
Luckily it's a non-moving violation. It's just a fine. But yeah, no, I parked that shit today.

Paul Malagerio (00:47:04):
So that's done. You got a new vehicle. You got insurance. You got your tag. You got your license. So no
more fucking around with that.

James Garretson (00:47:11):
Yeah, and I got water. I'm going to watch our turds fucking flow away.

Paul Malagerio (00:47:17):
Have you got [inaudible 00:47:17] on the truck?

James Garretson (00:47:18):
It's got a receiver, yeah.

Paul Malagerio (00:47:18):
Is the Tundra the big one?

James Garretson (00:47:22):
No. Yeah, it's a big truck, but I got just the small 4.6V8 and all that.

Paul Malagerio (00:47:31):
Okay. Well, when I first worked with you, you had a Tacoma or a Tundra?

James Garretson (00:47:34):
That was a Tundra. It's just like that one.

Paul Malagerio (00:47:37):
Well, that was a nice truck.



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James Garretson (00:47:38):
Yeah, this one's real nice. It's real nice. But yeah, I've been sitting here fixing up credit every fucking day.

Paul Malagerio (00:47:48):
So you did it that quick?

James Garretson (00:47:50):
It took me... Okay, I was a 400 when I started because all my lates and everything. I got everything off.
It's about a 780 now. Took me 43 days. Yeah.

Paul Malagerio (00:48:10):
Okay. Well, when things get rolling, I don't have bad credit as far as I know. I didn't pay a dish or direct
thing. Maybe I should go that route.

James Garretson (00:48:22):
Oh yeah, I can fix that shit up for you. I mean, I got a 5% rate. I got it from Dallas and dropped it off at
the store today.

Paul Malagerio (00:48:33):
How do you get back? Somebody driving?

James Garretson (00:48:36):
No, somebody followed him up here and dropped it off.

Paul Malagerio (00:48:40):
[crosstalk 00:48:40].

James Garretson (00:48:40):
Yeah. And I've got the rebate coming next week, $2,500. So yeah.

Paul Malagerio (00:48:43):
They're sending you $2,500?

James Garretson (00:48:48):
Yeah, because I took the rebate. Instead of applying it to the vehicle, I told them I want the check. So as
soon as the funds, they'll mail me a check for 2,500.

Paul Malagerio (00:48:56):
And there's five payments.

James Garretson (00:48:59):
Yeah, that's what I'm going to do. I'll make four payments to be done, four or five payments and be
done.


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Paul Malagerio (00:49:04):
So my credit's good, say it's even better, and I try to purchase or lease something that's four or five
years old with a good percentage rate so I drop my monthly payments down to something that really
are manageable, what's the lowest they'll go on a monthly payment on a [inaudible 00:49:20]?

James Garretson (00:49:20):
Well, the beauty is here, if I would've went Toyota Financial, but I can because I had a fucking repo.

Paul Malagerio (00:49:26):
Yeah.

James Garretson (00:49:27):
Well, I got it off but it still shows them their system. I could have got 0% for 72.

Paul Malagerio (00:49:35):
Yeah.

James Garretson (00:49:35):
So I got 5% for 72. So I mean, 5% rate is nothing really.

Paul Malagerio (00:49:43):
Yeah.

James Garretson (00:49:44):
And then stretch the payment out for... It's not due for 60 days. You can't beat that. Yeah, it had 19
miles and now it has 130.

Paul Malagerio (00:49:54):
Nice smell, isn't it?

James Garretson (00:49:56):
Oh, yeah. I love the new smell.

Paul Malagerio (00:49:59):
I forgot to read you this in regards to the cover-

                                          PART 2 OF 4 ENDS [00:50:04]

Paul Malagerio (00:50:03):
... you this. In regards to the cover sheet for filing of civil actions ...

James Garretson (00:50:06):
Uh-huh (affirmative).


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Paul Malagerio (00:50:08):
What is checked on the box is general civil administrative law, probate wills, domestic family, and the X
that my lawyer has beside it, the court is for civil contempt.

James Garretson (00:50:22):
So that's what he is trying to get her for.

Paul Malagerio (00:50:27):
Yep. Because she hasn't paid this after she's agreed to so she basically is in contempt of court. And
tomorrow I'll be talking about 9:30 in the morning about this for about 20 minutes, what documents to
bring, what paperwork, I'll be there. And just like Joe thing, if she's smart maybe she'll just show up with
the fucking payment, I'll go get my shit and that's the end of it.

James Garretson (00:50:52):
Yeah. She'll probably go ask Daddy for the money or whatever.

Paul Malagerio (00:50:56):
Well, she's got the money.

James Garretson (00:50:57):
Yeah, but if she didn't have it she'd probably go ask Daddy if she can get it and work it off or suck his dick
or something like that.

Paul Malagerio (00:51:05):
Well, the only reason he would help her with that, because he always claims he's broke, he won't help
anybody. He wouldn't do anything for her, they fucking hate each other. The only reason he would do it
is when his wife number three, the idiot that's there now, assaulted Gretchen when she was 15, she was
arrested and they're walking into court and Karl says, "Gretchen, drop this charge because friends are
going to find out about this. I don't want my friends to know what's going on here." So they had a little
bit of a litigation and agreed to drop the charge. So he'd be more concerned about Gretchen
Mogensen's name in the newspaper or public venue being arrested or charged or whatever, convicted
of civil contempt and being ordered to pay blah, blah, blah.

James Garretson (00:51:48):
Yeah.

Paul Malagerio (00:51:49):
And there's so much shit on the Mogensen name, this is the best way to handle it. My lawyer is doing a
pretty good job because it's basically enforcing a decree.

James Garretson (00:51:59):
Yeah. No, he's good.

Paul Malagerio (00:52:01):


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Not rehashing the ...

James Garretson (00:52:01):
Yeah.

Paul Malagerio (00:52:01):
Yeah. [crosstalk 00:52:01]

James Garretson (00:52:01):
There's not going to be no questions or no trial or none of that shit, that's over with. All he's doing, "Hey
bitch, where's the money at? Oh, you spent it?" You know, whatever the fuck happened. Who cares if
Tammy or anybody show up or fucking anybody, they can't say anything.

Paul Malagerio (00:52:18):
No. There's no witness to it. There's no [crosstalk 00:52:20]

James Garretson (00:52:21):
Fuck him.

Paul Malagerio (00:52:23):
He said the schedule for one will probably be over by 1:45 and that will be the end of it.

James Garretson (00:52:24):
Oh, it'll be fucking quick.

Paul Malagerio (00:52:24):
Yeah.

James Garretson (00:52:24):
I don't know, so what do you think? Plea Joe, Joe plea, day of or day after?

Paul Malagerio (00:52:39):
They're probably the ... First of all, they told him to shut up and he wouldn't. There could be a mistrial
because of all of the public input from the fucking Facebook watchdog sites that could have tainted the
jury. They might play that card, mistrial, but then it's all going to happen again so it doesn't end. His
lawyers are going to look at the witness list, who's going to say what. They already have disclosure.
What you're going to say, what John Finley's going to say, you two people going up there and doing that
and then fish and game and the paperwork. His lawyer looks at him and says, "Look, you're guilty of this,
they're going to get you on that. I can't guarantee you're going to walk on any of this so let me try to get
them down to 10 years." I'll say, "10 years." And then the prosecutor just might cave at 10 and then it's
done, it's over with. That way we know he's locked up for nine years and guess what shit's going to
happen in those 9 years? But it's over with it, it don't matter. [crosstalk 00:53:41]

James Garretson (00:53:41):


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Yeah. A lot of animal sex.

Paul Malagerio (00:53:43):
Well, he's not going to come out there alive, his mouth is going to get him fucking killed.

James Garretson (00:53:49):
Yeah. I think he's going to ... I think he'll plead it the day before. I mean, I was just waiting for a call just
saying, "Oh yeah, court's done."

Paul Malagerio (00:53:57):
Well, how can they plead on a Sunday? Don't they have to do that in a courtroom?

James Garretson (00:54:01):
All you've got to do is reach out to his attorney and basically just say, "Hey, I want to plead this thing."
The plea deal is on the table. I think they said up until a verdict is what ... Because I think I asked her
that.

Paul Malagerio (00:54:18):
Yeah. Up until the verdict you can plea.

James Garretson (00:54:20):
Yeah, which is kind of stupid.

Paul Malagerio (00:54:25):
I don't know if that makes any sense because ... Go through the whole process of this and they have a
little meeting at the end of the day and they go, "Fuck him, guilty or not." But then they're like, "Okay,
tell you what, let's plea." That's when a prosecutor says no. The plea deal is only until the trial starts,
there's no plea deal after.

James Garretson (00:54:42):
Well, yeah. If the prosecutor saw that there was holes in her case, which there is this and that, she could
be like ... They don't have to accept any deals really, honestly.

Paul Malagerio (00:54:55):
Right.

James Garretson (00:54:56):
It's going to be a ... Everybody's worried ... Well Matt, his deal is he's worried about Jeff Johnson's
recording because he was such a shitty investigator.

Paul Malagerio (00:55:08):
He's afraid of Jeff Johnson in court?

James Garretson (00:55:11):

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Has recordings of Jeff ... He thinks Jeff Johnson recorded him and has something on him because you
know how Matt opened his mouth so freely?

Paul Malagerio (00:55:21):
Yeah, Matt fucked us up.

James Garretson (00:55:22):
Yeah.

Paul Malagerio (00:55:24):
First of all, Jeff Johnson in his own statement I read 20 minutes ago on Facebook has decided to take a
different route. Well, this is the end game run and now you're going to insert yourself into the defense?
And what's he going to do, call Joe's lawyer and say, "I want to talk to you," and they're going to say,
"Yeah, we don't need you. Shut up. You're just a fucking ..." Okay, well you're going to go up there and
well he said this and I said that and he said this and I ... Did you ... Were you part of this [inaudible
00:55:54]? No. Were you there when Joe was shooting cats? No. Were you part of the [inaudible
00:55:57]? No. Nobody will want him then. He's over-evaluated his worth. He's trying to insert himself in
this. And what's Matt worried about? It's all hearsay. And would the tape recording be admissible?
There could be a whole hearing about that. This man shows up with mysterious tape recordings.

James Garretson (00:56:14):
Well, supposedly Matt was real loose lipped with Jeff Johnson because he's worried about Jeff Johnson
has him recorded. I mean, Matt did say some stupid shit. I mean goddamn, I've got fucking six different
occasions. "Hey, if my boss calls will you tell him that I met with you Friday at two o'clock?" Sure Matt,
no problem.

Paul Malagerio (00:56:36):
And the judge will say, "Disregard this testimony, it has no bearing on the facts being presented in the
case."

James Garretson (00:56:43):
Yeah. No, I hear you.

Paul Malagerio (00:56:45):
It's discrediting a witness. Matt didn't say, "Yeah, I know Joe didn't do it. Let's fuck him anyways."
[crosstalk 00:56:51]

James Garretson (00:56:51):
Matt don't seem too fucking bright, I'm sorry. He's really not. It's like, how did you get in that position?
Because he's really like ... His investigation skills are not that great. I mean, actually I did a lot of his
homework.

Paul Malagerio (00:57:11):




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Okay. You and I have been around the block. You can probably guess how many times I've been sitting in
the room when the guys are talking to me and I play and I have fun. And they come over and they ask
me questions. And then that one cop walks in and he's kind of got an attitude and he sits there and he
kind of smirks and he looks at you and he sums it up and you know he's sharp and you know he's
worldly, and he knows you know you're guilty, but he also knows you're not going to talk, right?

James Garretson (00:57:36):
Yeah.

Paul Malagerio (00:57:36):
You know the way they walk through a room, those are the guys that got their shit together? Matt
doesn't have that.

James Garretson (00:57:42):
No.

Paul Malagerio (00:57:42):
Matt's not a ... He doesn't seem to have that way about him. And when he started telling you things and
you were ... Remember I said to you, "He shouldn't be telling you that. He shouldn't be telling [crosstalk
00:57:52]"

James Garretson (00:57:51):
Yeah.

Paul Malagerio (00:57:54):
He's more worried about fucking up his pension because he didn't know Joe personally, but it looks like
he took it personal. Was he angry that day?

James Garretson (00:58:04):
Do you know that he actually interrogated Joe five or six years ago?

Paul Malagerio (00:58:07):
In regards to?

James Garretson (00:58:10):
A Lacey violation. And he didn't have enough to fucking charge Joe. Joe insulted his intelligence five or
six years ago.

Paul Malagerio (00:58:19):
Well, he did have enough but he didn't know how to do it and Joe outsmarted him.

James Garretson (00:58:24):
Yeah, Joe outsmarted him, that's what they told me.



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Paul Malagerio (00:58:27):
Yeah. We would probably agree that Joe is smarter than Matt.

James Garretson (00:58:33):
Yeah, he is.

Paul Malagerio (00:58:35):
Yeah, so Joe [crosstalk 00:58:35]

James Garretson (00:58:35):
And then Jeff Lowe is a little smarter than Joe and Matt.

Paul Malagerio (00:58:46):
As much as Jeff Lowe is a piece of shit, just like Joe, you've got to give them credit for being really classy
pieces of shit. [crosstalk 00:58:53]

James Garretson (00:58:53):
No, he's a good con.

Paul Malagerio (00:58:56):
Yep. He owes me. [crosstalk 00:58:59]

James Garretson (00:58:59):
He is a real good con, that's for sure. You've got to give him credit for that.

Paul Malagerio (00:59:04):
Yeah.

James Garretson (00:59:05):
But him and Stark, that ain't going to last. I mean, I'm surprised they're not already fucking feuding.

Paul Malagerio (00:59:12):
Well, I made that comment when he first posted that. I said, "Oh, these two are partners, what could go
wrong? I give them six months." And of course someone sends that to Jeff Lowe and then Jeff Lowe has
to shit on me going, "Six months and blah, blah, blah, blah, blah." And he starts talking about this. And
he made comments in there when he was at the school that he talked to the sheriff about JJ and PM.

James Garretson (00:59:38):
Geeze.

Paul Malagerio (00:59:38):
And the comment about me and my Walmart clothes.



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James Garretson (00:59:45):
Well at least you know Jeff Lowe's going to be in his one pair of Buckle pants that he has, the ones with
the rhinestones on the back. He has the same pair.

Paul Malagerio (00:59:55):
Everybody jokes about that.

James Garretson (00:59:55):
No, me and Brittany, we've seen him three or four days in a week and it had the same fucking stains, the
same place. They're the same jeans, he wears them every fucking day. They're like $200 fucking jeans,
that's all ... It's not that big of a deal, but he only has one pair.

Paul Malagerio (01:00:18):
The people were picking on them, talking about him, getting his clothes from Baby Gap. Some of the
women's comments on there I have to read it because they fucking hate him so bad. "Oh, I'm sick of the
fucking hairless hobbit." The hairless hobbit's a good one, I crack up when I see that. That's [crosstalk
01:00:36]

James Garretson (01:00:36):
[inaudible 01:00:36]

Paul Malagerio (01:00:36):
Hairless hobbit.

James Garretson (01:00:36):
And you know he's [inaudible 01:00:43] but you know that's making him act [crosstalk 01:00:45]

Paul Malagerio (01:00:46):
Hold on, you just broke up. Start again.

James Garretson (01:00:48):
That probably hurts his feelings worse than anything because he's got this big man syndrome, little man
syndrome so bad.

Paul Malagerio (01:00:57):
Yeah.

James Garretson (01:00:57):
I'm sure that just seeing the picture online of him hairless, it probably drives him crazy every night.

Paul Malagerio (01:01:05):
[inaudible 01:01:05] posts that repeatedly, "Wanted in Las Vegas." Still current, repeatedly she posts
that over and over in his fucking face.


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James Garretson (01:01:14):
Oh yeah.

Paul Malagerio (01:01:14):
[crosstalk 01:01:14]

James Garretson (01:01:14):
That gets him worse than anything.

Paul Malagerio (01:01:17):
Yeah. Well, it's Wednesday. This time next week a lot of things will be resolved. And I'm not sleeping, I'm
waking up and I'm having a bit of trouble with a few things, but I have to get some closure on this shit.
It's been three years for my fucking battle and it didn't need to be a battle.

James Garretson (01:01:36):
Yeah.

Paul Malagerio (01:01:36):
And I'm ... I don't laugh, I don't joke, I don't talk to people. I clean my guns, keep them loaded, and I've
got to get this fucking dealt with, it's got to be over with.

James Garretson (01:01:47):
Yeah.

Paul Malagerio (01:01:48):
And then ...

James Garretson (01:01:48):
And just remember, we'll have Stark. You know, Stark's a permanent resident too so we've got to watch
out for that cocksucker.

Paul Malagerio (01:01:55):
Well, what's he going to try to do to us? Because they're going to be on the defense. [crosstalk 01:02:00]

James Garretson (01:02:00):
I don't know Stark like that. I don't know how he is so I don't know.

Paul Malagerio (01:02:03):
He's a fucking mouthpiece coward.

James Garretson (01:02:06):
Okay, there you go. Then we're good.



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Paul Malagerio (01:02:07):
He's a fucking mouthpiece. When he really pushed it with me, he went and strapped his gun on.

James Garretson (01:02:12):
Oh, did he?

Paul Malagerio (01:02:12):
Yeah. Because up until that time I took a lot of verbal abuse, and you know why. And that's going to bite
him in the ass. And I took it and I took it and he said, "I want you off the property." Why? What for? "I
just want you gone." Why? What's going on? Tell me what's going on. What happened? "Just get your
stuff and go." And then he drives back and he's wearing his fucking Ruger revolver and I got right in his
face. "Why are you wearing your gun?"

Paul Malagerio (01:02:38):
"I always wear my gun when I ship cats." I said, "You haven't worn your gun since I've been here. Is it
because of me? Is that why you're wearing your gun?" And he walked away. But he put his gun on.

James Garretson (01:02:49):
[crosstalk 01:02:49]

Paul Malagerio (01:02:49):
Okay, he put gun on because he was scared, because somebody told him the truth and convinced him.
Whoever he talked to, Jamie or Gretchen or fucking Daniel Chambers or Jeff Lowe. "Watch him Tim, he'll
fucking kill you. He'll fucking shoot you. He'll fucking smack you in the face. He did this, he did that." And
yeah I will and I'm going to because you've got to it coming because you fucked me over. [crosstalk
01:03:10]

James Garretson (01:03:10):
Well, you've got to think about this. We're going to be close enough to them where they're going to ...
Beyond our VIP party, once we have our VIP party, whatever. But we're going to be so close to them
that they're going to fucking ... We're going to cross paths just being day-to-day normal.

Paul Malagerio (01:03:32):
Well, that's why I'm going to go look for them. [crosstalk 01:03:35]

James Garretson (01:03:34):
Yeah, but maybe you'll have to look for them. They might be at the fucking gas station there in Marietta,
there they all are. We're going to cross paths with them.

Paul Malagerio (01:03:45):
Well okay, here's what's going to happen. Just because they'll see us once in a while, they're going to go
on the total defensive and they're going to spend all this money on video cameras and security and
protection and we'll just drive by and we'll just look and we'll keep driving. And we'll drive by and we'll
look, whenever we fucking feel like it. And we won't make comments and we won't make any threats,


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but sometimes we'll be somewhere and we'll just be sitting in the parking lot just looking, not talking,
not ... Do you know what that fucking does to people like that?

James Garretson (01:04:17):
Yeah, and I think I might go eat chicken fried steak every Friday night at fucking Toby Keith's in the
WinStar.

Paul Malagerio (01:04:27):
Who goes there?

James Garretson (01:04:28):
I think I might start.

Paul Malagerio (01:04:31):
Well, why wouldn't you?

James Garretson (01:04:33):
That's where they're going to go. That's where Jeff and Lauren are going to go hang out to be the big
guy. They're going to hanging out at the WinStar.

Paul Malagerio (01:04:41):
Okay, so here's what happens. They're in there eating and we walk in and we sit at the bar, order a
couple of drinks, and just stare at them. There goes their meal.

James Garretson (01:04:53):
Oh, yeah.

Paul Malagerio (01:04:53):
And they can't carry their guns so they're going to go and call security and security is going to say, "Well,
what's the problem?"

Paul Malagerio (01:04:58):
"Oh, those guys there, we don't like them." They'll say, " Well, then maybe you should leave or
something."

James Garretson (01:05:02):
Oh, yeah.

Paul Malagerio (01:05:04):
Just make it so uncomfortable for them every fucking day.

James Garretson (01:05:07):




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Jeff Lowe has it instilled in his brain that he can't be in the car with a gun because ... At the park they do
it, but I noticed a couple times, like when we left to go eat one day and we got in his Hummer, "Lauren,
you don't have your gun on you, do you?" She would go put the gun in the house.

Paul Malagerio (01:05:26):
Oh, good. [crosstalk 01:05:28]

James Garretson (01:05:28):
He's scared the death of carrying a gun because he said, "If I get caught around a gun ..." Because you
can't even not carry a gun, you can't be around a fucking gun.

Paul Malagerio (01:05:36):
Okay. I know that, all right?

James Garretson (01:05:41):
Yeah.

Paul Malagerio (01:05:42):
When Timmy moves in with Gretchen, I phoned Travis Crawford and I said, "Hey, he has a .410 shotgun
he bought at the dog trade in David. My wife has a concealed permit, carries a revolver, and they have
two of my pistols, and here's the address in Pauls Valley." And he said, "Well, maybe we'll go do a no-
knock." And I said, "Well, if you go at 10 o'clock at night you're going to smell pot smoke coming out."
And finally I said to Travis Crawford, "Look, the guy's a felon, he's an alcoholic, and he's got firearms." He
goes, "well, I don't really have a problem with that. There's a lot of things in that complex that we're
watching, but if we see him we'll pull him over." Well, Gretchen is terrified of me so she'll carry her gun
in her purse. And then you saw Timmy with my fucking Glock.

James Garretson (01:06:24):
Yeah.

Paul Malagerio (01:06:25):
So what I couldn't figure out was, wouldn't a cop jump on that? I mean, every time they drive from the
zoo she's got her gun, that's like twice a day they could have popped a fucking felon with a gun.

James Garretson (01:06:32):
Fuck yeah. Yeah.

Paul Malagerio (01:06:35):
They never did it. So what we have to do is make sure there is one in their vehicle, yada, yada, yada, and
then make the call and watch them get pulled over, then it's done, it's over with. And of course she's
going to say, "That's not my gun."

James Garretson (01:06:51):



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Yeah because Joe would always ... I'd carry my gun all the time and Joe would always like, "James can't
carry a gun either, he's a felon."

Paul Malagerio (01:06:59):
[crosstalk 01:06:59]

James Garretson (01:06:59):
Okay, first of all Joe would always say, "Well James carries a gun, Jeff. Why don't you carry gun? He's a
felon." Because I just made him think that I'm a felon, which I'm not a felon. I mean I've got felonies but I
got my shit expunged, so I'm good to carry a gun or whatever. But Jeff is terrified to be caught in
possession of a gun.

Paul Malagerio (01:07:20):
Good to know, because you never know where a gun's going to turn up.

James Garretson (01:07:20):
Yeah. I mean, terrified. You can see that with Lauren, "Did you leave your gun? You don't have a gun on
you?"

Paul Malagerio (01:07:34):
You just got garbled again there. Are you walking around?

James Garretson (01:07:36):
No, I'm sitting down. But yeah, Lauren was ... He would always tell Lauren to take off her gun and put it
in the house.

Paul Malagerio (01:07:42):
Yeah, I cleaned that gun. When she showed it to me I said, "Let me see that." I go, "You can't shoot this,
it's filthy." I took it home and cleaned it. It's a Smith & Wesson M&P 9mm and I gave her 15 rounds of
hollow-point and I said, "Here, you're good to go." She goes, "Thanks, Paul."

James Garretson (01:07:55):
Where did she get that gun at?

Paul Malagerio (01:08:00):
I don't know, I didn't ask her about that. But that's the one she took to Colorado and had on the seat
because she thought they were going to have a shootout with Nick. And I said, "Just keep the gun in the
truck, I'll go talk to the guy." And then John's waiting in the truck with his lever action .30-30 and his
fucking AR-15 and ... They're just all fucking gun-happy. See, if you or I come around they're going to pull
a gun.

James Garretson (01:08:21):
Oh, yeah.



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Paul Malagerio (01:08:21):
Lauren's got to pull a gun, that's what they're going to do.

James Garretson (01:08:23):
Yeah.

Paul Malagerio (01:08:26):
[crosstalk 01:08:26]

James Garretson (01:08:26):
Well, she's going to have to shoot me because I'm going to go after that bitch.

Paul Malagerio (01:08:31):
Okay. So when they go to the VIP party she won't have her gun because they don't want it in the vehicle,
right?

James Garretson (01:08:37):
Oh yeah, she won't have it in there.

Paul Malagerio (01:08:39):
So when they leave the VIP party, because they could have just dropped their keys that unlocked the
door, so whatever they're driving I'm pretty sure there will probably be a gun in that car when they're
going back home.

James Garretson (01:08:49):
I've got nice little .38 I can throw right in the backseat.

Paul Malagerio (01:08:54):
Yeah. There you go.

James Garretson (01:08:55):
Rub some blood all over it and fucking just throw it in the backseat. Yep, that's fucking crazy. Yeah, they
just ... Yeah, but Jeff Lowe, that Tim Stark shit, that's going to end disastrous.

Paul Malagerio (01:09:08):
Well, Jeff Lowe's going to be going ... Jeff Lowe's going to need money for a lawyer and what's he going
to do, ask Tim Stark for it?

James Garretson (01:09:18):
Well, you know how much money it cost to build cages for all Tim Stark's ... Presentable cages on that
land, do you know how much money it would cost?

Paul Malagerio (01:09:26):


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A million dollars.

James Garretson (01:09:29):
Oh yeah, at least.

Paul Malagerio (01:09:31):
Yeah.

James Garretson (01:09:32):
At least. I don't think it's happening, I mean I really don't. I think they might get a few animals moved
and then that'll be it.

Paul Malagerio (01:09:41):
Well ... Okay, it's not up to them. We're not going to allow this to happen, so when they're both there
doing their thing they're going to have big problems come up, big legal issues. And we still don't know
for sure if Jeff Lowe's going to be arrested before, during, or after the trial and his bail's going to be a lot
because of his record and he's going to have to have Stark for that, but then when he gets arrested
again for something else he's not going to get bailed out and then Stark is going to be going back and
forth, he's going to have to have someone to run that place when he goes back. He's going to be
overwhelmed with it.

James Garretson (01:10:14):
[inaudible 01:10:14]

Paul Malagerio (01:10:14):
And his wife's fucking useless, she has a full-time job, she hates this shit anyways.

James Garretson (01:10:22):
Oh, Stark's wife works full-time?

Paul Malagerio (01:10:25):
Yeah. She has a company car with an Arkansas plate and she does some sort of purchasing or buying for
some company.

James Garretson (01:10:31):
Oh, okay.

Paul Malagerio (01:10:33):
[crosstalk 01:10:33]. She'd be there on the weekends sitting at the desk and she was really not nice to a
lot of people, she was kind of short because she's the queen because she has all this money. But she'd
tell me to do something, and not in a nice way, and I'm like, "What a fucking bitch."

James Garretson (01:10:50):
What does she look like? Is she an ugly old whore?

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Paul Malagerio (01:10:53):
She was attractive 20 years ago, but she's short, dark hair. Has a pretty face, really skinny. But not ...
She's not nice, she's not nice to people.

James Garretson (01:11:07):
Yeah.

Paul Malagerio (01:11:09):
Nobody likes her.

James Garretson (01:11:11):
For Tim Stark, probably a good match then.

Paul Malagerio (01:11:14):
Well, and the vulgar comments he makes around her, he can't be an easy guy to live with because first
of all, he's an insomniac, he doesn't sleep. He's angry, and every second word ... Well, you heard him.
Okay, what person could live with that for how long? It's just anger, it's hatred, it's negative energy, it's
nothing nice.

James Garretson (01:11:35):
Yeah. I could only take about five minutes. I mean, I'm sure he's probably ran off every employee at GW
and told them how stupid they are.

Paul Malagerio (01:11:43):
Yep. Well, he fights with Daniel Chambers and I heard Daniel Chambers goes back. When you take
somebody back that you fucked over, and they had big fights. When Daniel Chambers went to Colorado,
he was going to do the same thing that Stark was doing with the cub petting. When I got to Stark's place
he just wanted to know everything about ... Obsessed with Daniel. I talked to my lawyer today and I'm
going to sue him for five million dollars for stealing my idea for doing this. And then he phones him up,
he goes, "I phoned Daniel today and he said, 'How is the copycat business going? Or how's the ...'"
whatever. And he thought it was smart because he just wanted to shit on Daniel Chambers, he fucking
hated him. But then he brings him back. Well that's because nobody else will work for the guy. And
Chambers is a fucking idiot, he's just ... He's a fucking moron.

James Garretson (01:12:31):
Yeah.

Paul Malagerio (01:12:32):
[crosstalk 01:12:32]

James Garretson (01:12:32):
I guess Stark probably just sees that his time, his permit's going to be grabbed and he's probably just
going to fucking move everything down there, whatever.



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Paul Malagerio (01:12:46):
Okay, of all the people to pair up with at this time, it's the worst business decision ever.

James Garretson (01:12:52):
Oh god, yeah.

Paul Malagerio (01:12:54):
He would be better off going to another state, buying 20 acres, getting a permit, having someone apply
for it, keep his head down and his mouth shut and move his animals with someone else's permit and live
there and shut his fucking mouth.

James Garretson (01:13:09):
Yeah.

Paul Malagerio (01:13:11):
But that's what's going to kill him.

James Garretson (01:13:13):
But you see, he's taking the feud or fight and telling everybody, "I'm winning this war," and all this.

Paul Malagerio (01:13:18):
Yeah. Well, and get it back to the plan we discussed this week, which I think is the best way of actually
realistically surviving, is the plan that you have to make it an actual sanctuary.

James Garretson (01:13:33):
Yeah.

Paul Malagerio (01:13:33):
Because what do you want at the end of the day? You don't want ... Like in Ringling you get up and
you're mad because people are shitting on you because you're doing cub petting and it's stressful. It
caused you fucking stress, and for what? So you take that out of it, take that totally away. And we'll still
do cub petting, we'll do it on our time, we'll do it whenever.

Paul Malagerio (01:13:56):
You're breaking up again.

James Garretson (01:13:56):
Yeah, we'll do whatever we want to do and have the fucking protection of all those assholes.

Paul Malagerio (01:14:05):
Yeah. And did you hear the way you just laughed?

James Garretson (01:14:10):


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Yeah.

Paul Malagerio (01:14:10):
You're going to have the last fucking laugh on this. Man, you've been through shit the past year.

James Garretson (01:14:14):
Oh, yeah.

Paul Malagerio (01:14:14):
You've been through a world of fucking shit. And you're the one that calls me up and says, "Put some
hay down for the cats because it's cold out."

James Garretson (01:14:21):
Yeah.

Paul Malagerio (01:14:22):
Nobody else fucking does that. Okay, so [crosstalk 01:14:25]

James Garretson (01:14:24):
What I'm going to do, I'm going to suck Howard's dick basically.

Paul Malagerio (01:14:29):
Say whatever you've got to say.

James Garretson (01:14:32):
I'll get in his little fan club and then, "Oh Howard, y'all are so great." Who cares what I really think about
him? Who fucking cares?

Paul Malagerio (01:14:39):
Well, it's business.

James Garretson (01:14:41):
That's all it is.

Paul Malagerio (01:14:42):
That's all, yep.

James Garretson (01:14:44):
And they're tied in with all those other assholes, you know?

Paul Malagerio (01:14:47):




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Well, when you find out what the plans are for Jeff Lowe let them talk and then throw in a bit of two
cents in there and say, "Well, what are you going to do with the park when Lowe's gone?" And go from
there. And go from there.

James Garretson (01:14:59):
Yeah. They ...

Paul Malagerio (01:15:01):
And just say to them, "Hey look, for ..."

                                       PART 3 OF 4 ENDS [01:15:04]

Paul Malagerio (01:15:02):
Just say to him, "Hey, look. For shits and giggles, why don't you announce that a couple people, me and
you are going to be running it."

James Garretson (01:15:10):
Oh, God. You know, they might have something up their sleeve while they're coming to Oklahoma, too.
You never know. They want to end Lowe, so they might have something up their sleeve, to come here to
Oklahoma and do something else.

Paul Malagerio (01:15:28):
Well, I know the paperwork was taken off Johnson's site, but it was the proof of service for the
subpoena to get Lowe back in court for not vacating the property, basically.

James Garretson (01:15:42):
Yeah.

Paul Malagerio (01:15:42):
So how long does that take?

James Garretson (01:15:48):
Yeah, I [inaudible 01:15:48] think-

Paul Malagerio (01:15:48):
Two months?

James Garretson (01:15:48):
Yeah. I would've thought they would already [inaudible 01:15:51] emergency orders and all this other
shit.

Paul Malagerio (01:15:54):
Well, they probably do. So how do we know the animals aren't going back up to Tim Stark's place and
[inaudible 01:16:00] a big fucking smoke screen?

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Paul Malagerio (01:16:02):
But this is the games you guys could be playing and good riddance.

James Garretson (01:16:07):
There was no fences or anything being built. So it was all just clearing. Does Stark own a big track
loader?

Paul Malagerio (01:16:15):
Yep. Yep. Big yellow one. Yep.

James Garretson (01:16:18):
Oh yeah. So that's probably... I was wondering because that thing's a five, eight hundred dollar a day
rental fucking track loader. There's been a track loader there.

Paul Malagerio (01:16:27):
Yeah. He's got an old track loader. He's got an old dump truck. He's got the big industrial scissor lift. He
had four skid loaders, when I was there.

James Garretson (01:16:40):
Damn.

Paul Malagerio (01:16:40):
He's got small little [inaudible 01:16:40] one. What else did he have? Oh, the big truck with the floats
and the new Dodge pulling it. Exactly what Jeff Lowe said it was, but except for the mileage. And he
goes, "Yeah, why'd you get one so long?" He goes, "Oh, I went with that fucking wimp Daniel. That was
only going to get the 33 footer. And ah, fuck that. I'm going to get the 45 footer."

James Garretson (01:17:03):
Damn.

Paul Malagerio (01:17:04):
And he got the... Where'd the money come from? It's probably money going to his business that he
probably has to put back into it because of the rules with the [crosstalk 01:17:14]

James Garretson (01:17:14):
Yeah, the nonprofit. Yep.

Paul Malagerio (01:17:15):
Yeah. The nonprofit. So he's smart with that, but he'd go out and buy equipment and the brand new
fucking truck and that red freaking ATV was on there. I was with him when he bought that. He saw it for
sale on the side of the road. He says, "Get it right over here. I got [inaudible 01:17:30]." And I'm driving
him over there and he's talking to the guy. He says, "How much do you want for it? How much you want
for it?" Okay. Thirty five hundred. He looks at me and he goes, "Why the fuck don't you go back to work
and get some fucking work done instead of standing around here." And I look at him.

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James Garretson (01:17:43):
Damn.

Paul Malagerio (01:17:43):
And he just fucking laughs at me. Exactly how he talks. And I go back and just like it's supposed to
impress the guy he's buying it off of, you know?

Paul Malagerio (01:17:53):
Okay. So that's when [Jamie 01:17:54] was standing in the driveway. And he comes ripping up on the
road in this thing, because it was five miles away. 30 miles an hour up his driveway. She says, "Where
did he get that?" I said, "He just bought it down the road." She goes, "What'd that cost?" I go, "About
3,500 bucks." She goes, "And I can't even pay my fucking rent."

Paul Malagerio (01:18:11):
Jamie said that to me. She fucking hated him. She's getting 400 a week and doing six days a week living
somewhere else. Just fucking hated it. It's just, like you say, zookeeper's a shit job. They don't make any
money.

James Garretson (01:18:24):
That little bitch has gone quiet too. She was running her fucking head every other day. She's gotten kind
of quiet, too, now.

Paul Malagerio (01:18:30):
Is she still at the vet's office, do you know?

James Garretson (01:18:32):
I don't know. Need to get back on-

Paul Malagerio (01:18:35):
Do you have her-

James Garretson (01:18:36):
[Crosstalk 01:18:36] soon and find out where she's at.

Paul Malagerio (01:18:38):
Do you have her Social Security number?

James Garretson (01:18:38):
Yes I do. I have everything.

Paul Malagerio (01:18:38):
Good.



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James Garretson (01:18:42):
She still hasn't made a car payment.

Paul Malagerio (01:18:45):
They haven't taken it?

James Garretson (01:18:46):
No. They can't find it, I guess. Still. I think it had like 13 30-day lates.

Paul Malagerio (01:18:55):
Holy shit.

James Garretson (01:18:56):
Yeah.

Paul Malagerio (01:18:58):
So she didn't have a job after she left, even to be able to pay her car.

James Garretson (01:19:03):
Yeah. I don't think she payed anyway. I think she just fucking spent that money on getting fucked or
whatever. Ugh.

James Garretson (01:19:10):
I don't even think anything good looking about that bitch, either. I mean that honker of hers and shit.
Hell no. It'd be like fucking Gonzo. She looks like Gonzo with that big nose and everything.

Paul Malagerio (01:19:26):
So what did she get of all this? She hates Tim Stark and buddies up with Jeff Lowe and Jen [Garrett
01:19:32]. Two reputable people in the world. What does she get out of this? Something that they use
and set up? How soon before they turn on her?

James Garretson (01:19:40):
Yeah. That's what I don't get is like they change sides. How could Jeff Johnson be so fucking crucial and
after Joe and then just change sides?

Paul Malagerio (01:19:53):
Well, because he didn't get his fame because he didn't answer his calls. And I didn't answer the phone
twice. And that [crosstalk 01:20:00].

James Garretson (01:20:00):
You can't unring that bell, though. Everybody knows he was like, Joe's fucking number one hater. And
now he's in bed, trying to get him out of jail.



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Paul Malagerio (01:20:09):
Well, by the end of this week, you're going to decide. Maybe I'll do it, you can do it. But we'll post
something on the Exotic page. We'll have to do it about six in the morning when he's probably drunk
and whatever. And it'll be a paragraph about Jeff Johnson jumping ship and the shit that he tried to get
his friends involved in and about him... I was hoping he got arrested, so you could go on there and say,
"Yeah, Jeff Johnson's not here because he was arrested and this is what it's for." And play part of the
tape.

James Garretson (01:20:40):
Yeah's he going to-

Paul Malagerio (01:20:42):
[crosstalk 01:20:42].

James Garretson (01:20:42):
... he's going to be [inaudible 01:20:42] to me probably tomorrow, because remember he told me that I
better answer my calls when he is at Joe's lawyers.

Paul Malagerio (01:20:50):
All right. So why doesn't that go back to the prosecutor and say, "Look, he's still threatening me with
things I better do if I don't answer the phone."

James Garretson (01:20:58):
Yeah, I haven't sent it to him yet. I haven't sent it to him yet.

Paul Malagerio (01:21:01):
Why?

James Garretson (01:21:01):
I don't know. Because I've been busy doing other shit.

Paul Malagerio (01:21:05):
Okay. Because this could be the reason that he gets arrested.

James Garretson (01:21:09):
Yeah.

Paul Malagerio (01:21:09):
He's still threatening you.

James Garretson (01:21:12):
Yeah. But they already have the last two tapes and they haven't done shit, so...



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Paul Malagerio (01:21:15):
Well, Okay. So he's done another one. So here's the conversation with the prosecutor. Say, "Look, I'm
concerned about showing up now. Maybe I shouldn't go because this Jeff Johnson now is causing me a
world of grief and he's threatened me about... Here's the tape. He said, if I don't answer this phone
when he's calling from Joe's lawyers, I'm going to be in trouble."

Paul Malagerio (01:21:32):
Okay. Is that not against the law to do that? He's admitting that you're with this and that you better
answer the phone while he's talking to the defense attorney, when you're a witness for the prosecution.
What's the terminology behind that one?

James Garretson (01:21:48):
Yep.

Paul Malagerio (01:21:48):
This should get her pissed off. And when you say to her, "Look, maybe I should back away from this
because I know he's been threatening me and stuff and no one's doing anything about it. Are you going
to do something about this?"

James Garretson (01:21:59):
Yeah, but I sent her the tape of him saying he's going to whip my ass if I go to court. If that ain't enough
to charge the motherfucker, God damn.

Paul Malagerio (01:22:07):
Well then squeaky wheel gets the grease. Play it for her and tell her your concerns for safety and say,
"Deal with this before I show up, I don't want to deal with this. I'm not sure what he is going to do in the
parking lot in his minivan with his Glock 45."

James Garretson (01:22:23):
Yeah. He's probably going to do a Timothy McVeigh in court.

Paul Malagerio (01:22:28):
Well, he's the kind of guy that's going to blow his head off with a fucking 10 mile long fucking letter
about why he killed himself, and it's everybody else's fault, which he should do. Be better for his kid.

James Garretson (01:22:40):
Yeah.

Paul Malagerio (01:22:41):
No, I would [inaudible 01:22:43] on this prosecutor. Okay? How much more do I have to take and deal
with this, otherwise I've got some issues with showing up or not. Get her fucking fired up. Get her pissed
off at him, so she does something. What can she do?

James Garretson (01:22:53):


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Yeah. I figured they would've done it the last two times I sent them fucking tapes, but [crosstalk
01:22:59]- these fucking-

Paul Malagerio (01:22:59):
Do it again. At least he'll get a visit by a couple of cops who will sit him down and say, "Hey. Here's
what's going on."

James Garretson (01:23:08):
Yeah. Enough of this bullshit.

Paul Malagerio (01:23:12):
Book him for something, release him on his own recognizance. Then he can't testify because what's he
going to do, go up there and he's going to go, blah, blah, blah. And the prosecutor gets up. "Well,
weren't you arrested last week for threatening a Mr. James Garrison, who is a federal witness?" I don't
know the law perfectly, but I can see how useless he would fucking be. All right. If he doesn't get his two
hours of fame up on the stand, he's even going to be more fucking upset.

James Garretson (01:23:42):
He's probably going to be like... He's like, "Oh, I'm going to take a break. I got to go change some
diapers. I'll be back in a little while."

James Garretson (01:23:50):
And you've seen his wife, though. She's like a fucking retard, you know?

Paul Malagerio (01:23:55):
Well, look what she fucked.

James Garretson (01:23:56):
Yeah. You can tell that she's mentally not there, you know?

Paul Malagerio (01:24:01):
Yeah.

James Garretson (01:24:01):
Because I know that one night she called me, she was like. Begging me to stop the fucking kook you
know? from going kill Joe, whatever, or Jeff.

Paul Malagerio (01:24:16):
What, his wife called you?

James Garretson (01:24:16):
Yeah. That night at the house, when we we're going to go meet. He kept saying. I said, "Are you coming"
[inaudible 01:24:23] Are you coming, or what?" And then his wife called me. Your wife's handling your
business.

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Paul Malagerio (01:24:31):
And you got those tapes, don't you?

James Garretson (01:24:32):
Yes, I do.

Paul Malagerio (01:24:34):
Hello?

James Garretson (01:24:35):
Yeah, I do. I have them all.

Paul Malagerio (01:24:37):
That's funny. Well, you're not working tonight, are you?

James Garretson (01:24:44):
No, no. I'm there tomorrow night.

Paul Malagerio (01:24:46):
Well-

James Garretson (01:24:46):
Tomorrow night and Saturday night.

Paul Malagerio (01:24:50):
I don't like the idea of you having this recording and you not giving it to them after you have given them
two. You might have a tough time explaining that.

James Garretson (01:24:59):
Yeah. I'll forward it to them, I was busy today trying to get this fucking store back to fucking normal.

Paul Malagerio (01:25:05):
Yeah, that's fine. But you know, send it and just a quick text. "Hey, can you deal with this? Because I'm
concerned about my physical safety. I might have to change my plans next week."

James Garretson (01:25:14):
Yeah. I want them to call, just say, "Hey yeah, Joe just took the deal." I think that's what going to
happen, but...

Paul Malagerio (01:25:20):
Yeah.

James Garretson (01:25:23):


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Joe's not that stupid in his mind when reality's checking in. Hey, I might die in here or I can just eat it and
take 10 years and be done.

Paul Malagerio (01:25:35):
Well, keep being an idiot in suspense. He doesn't have an answer. He doesn't know. If he decides to
plea, it now takes the stress away because he now knows.

James Garretson (01:25:46):
Yeah.

Paul Malagerio (01:25:47):
The worst thing of when I was on trial once for something that could have been real serious, actually it
was. It's the two years I had to wait for the trial and not knowing how it was going to end. When they
dropped the gavel, and they gave me six months, I knew I was going to do two. I felt relief. Because
okay, now I got the answer. But that two years that was doing time. Not knowing the outcome. My
lawyer says, "You can get 10 years for this. You can get 10 years for this." Well, that's not what you want
hear from your fucking lawyer.

James Garretson (01:26:13):
Yeah. No, I hear that. Hey, did you hear about the Gambino family? The mob boss got whacked?

Paul Malagerio (01:26:20):
Fox News, Sunday morning. You know what the guy says? There's two guys and a girl on Fox on Sunday
morning. And the guy reads the story and the guy's sitting next to the girl says, "I haven't heard about
the mob in a while. It's good to see they're still killing each other." Said that on Fox News, I broke up
fucking laughing.

James Garretson (01:26:42):
Well, the thing is it wasn't a mob hit. That mob boss told this guy that he could not date his niece. He
whacked him for that.

James Garretson (01:26:58):
I'm on all those mob sites. I love re-watching movies with the mobs and documentaries and stuff. So I'm
on some mob chat rooms of like a guy, he's in the mob or he knows [inaudible 01:27:09] in the mob or
whatever, but he's always posting gossip about the mob. And he was like Gene Gotti just got out of jail.

Paul Malagerio (01:27:18):
Yeah.

James Garretson (01:27:18):
So Gene Gotti had him whacked to take back over and whatever. And come to find out, it was over a
fucking bitch. Over his niece.

Paul Malagerio (01:27:29):


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Because I heard on the news, they said there was an altercation outside with a vehicle and they were
arguing about it. Somebody hit his vehicle or someone happened. And he came outside and they argued
and he walked away. The guy shot him.

James Garretson (01:27:42):
No, here's how it is. I watched the whole detail. And they have it on tape, too. So the guy took his truck
and he rammed into the back of his parked SUV at his house. Then he goes to the door and tells him,
"Hey, I hit your truck. You want to come out and look at it." And then when he came out and looked at it
and he picked up the license plate that fell off, the guy filled... 12 bullets. Shot him 12 times. Only hit
him six of the 12. All in the torso.

Paul Malagerio (01:28:17):
And that was all because of dating some bitch.

James Garretson (01:28:19):
Yeah. That Frank Cali told this guy that he was forbidden to date his niece.

James Garretson (01:28:29):
And they were already predicting there's a mob war and all this power struggle and all this. And it was
over a fucking whore.

Paul Malagerio (01:28:37):
So, in New York, is it life or death penalty?

James Garretson (01:28:39):
I think it's life. I don't think they're a death state.

Paul Malagerio (01:28:42):
So, for a cunt? Like it wasn't even your mom. Like what the fuck? You know?

James Garretson (01:28:48):
Yeah. It was fucking crazy. But everybody was saying, yeah, it was a mob hit and all this. No, it wasn't. It
was over a fucking whore.

James Garretson (01:28:57):
I didn't even know the mob was still up and going. I thought they were fucking done, you know?

Paul Malagerio (01:29:05):
Well, they still got the families up there. They're still doing their shit.

James Garretson (01:29:09):
Yeah.

Paul Malagerio (01:29:09):

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They're smart enough to keep their fucking mouths shut and their heads down.

James Garretson (01:29:13):
Yeah, they said this was the best mob boss ever. That he was so low key, and they couldn't confirm that
he was actually the boss of the Gambino family. But they said that he was the only mobster in New York
that still has a lot of ties with the people over in Italy. This guy was super smart. He's only been in jail
one time. And he ran all the heroin trafficking and stuff.

James Garretson (01:29:39):
Must have been a smart motherfucker, though. If he stayed off the radar and all that.

Paul Malagerio (01:29:44):
Well, the old blood thing. it was, you don't talk. And when they hooked up with the bikers, they learned
more about doing the different cells, where five people know something and the rest of them don't and
their job is limited. So even if they get popped, they can't talk about anybody. There's no more have my
cousin do this. I'll trust my cousin. Your cousin would be the first one to fucking burn you.

James Garretson (01:30:06):
Yeah. Yeah. I think, after watching all these documentaries, I watch, I think the biggest idiot of all
mobsters was John Gotti.

Paul Malagerio (01:30:13):
John Gotti. Yep. Arrogant little piece of shit. Fucking mouthpiece.

James Garretson (01:30:17):
They said he was so fucking arrogant, and he just talked about everything in front of everybody.

Paul Malagerio (01:30:22):
Who's that remind you of?

James Garretson (01:30:24):
Yeah. Reminds me of a couple different people.

Paul Malagerio (01:30:27):
And where are they going?

James Garretson (01:30:29):
Yeah. Joe.

Paul Malagerio (01:30:32):
We're talking over an open phone and you're going to, whether you're racist or not, it's kind of amusing
that Jeff Johnson, even Matt, are so freaking unworldly that they say things on the phone that could
cause them fucking grief.



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Paul Malagerio (01:30:49):
Matt is juggling his pension by saying that. He should have said that to you, maybe never, or maybe in
person, and not on the phone. Hey, let's meet blah, blah, blah. And, and not make the comment about,
so my boss lets me take the truck home. I get home early. I mean that's-

James Garretson (01:31:06):
Yeah.

Paul Malagerio (01:31:07):
I'm so disappointed that he was that stupid, to say that.

James Garretson (01:31:12):
And it wasn't even Matt. It would be like this. It'd be like, instead of saying, "Hey James, we really got to
meet at 2:30." It was, "Hey James, if my boss calls, will you tell him that we met at 2:30 because I need
to get the fuck home and I don't want to catch traffic in Dallas."

Paul Malagerio (01:31:31):
Holy fuck.

James Garretson (01:31:32):
Yeah. It was detailed.

Paul Malagerio (01:31:34):
On the same phone that you're carrying to GW to set the [crosstalk 01:31:40] in motion.

James Garretson (01:31:41):
Yes. In detail, he would tell me what to do. He wouldn't hint or say, hey.

James Garretson (01:31:50):
And then he's asking me. He's like, "Hey, you don't have any recordings of me, do you?" I was like, "No,
man, I would never do that to you. I'd never burn you."

Paul Malagerio (01:31:56):
Okay. What I did that worked years ago, there was this French and Canadian cop named Frank [Gujot
01:32:04] and he was an asshole. So they had the thing in my car, right? Switch it on, go do that. And
then phone me at home, said, "Go find and switch that off. We can still hear you singing on the way
home." And then I would tape record all the conversations with a thing on my chest, an old tape
recorder. And I played the tape back for this one cop that hated Frank Gujot. And here's Frank Gujot on
the tape. He used to call me Bozo. "Hey Bozo. If I ever find out you've been taping me, you're going to
be in serious trouble." I played that for that [inaudible 01:32:34] that hated his guts. He just fucking
laughed his head off. His whole thing, you always assume, that somebody's tape recording you. Always.

James Garretson (01:32:44):
I got 103 recorded calls between me and Matt.

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Paul Malagerio (01:32:54):
Wow. Well it's too bad he wasn't still on the job, because you owe him a fed. You would've, anyways.

James Garretson (01:33:01):
Oh, [inaudible 01:33:02] [Good 01:33:02] just texted me this. "James, I will come to Oklahoma this week,
if you feel like connecting. Keep me posted."

Paul Malagerio (01:33:09):
Fuck off.

James Garretson (01:33:09):
Fuck you.

Paul Malagerio (01:33:11):
Yeah. And Sharon from National Geographic wants to talk. Wants to go for we're dinner one night. Go
fuck yourself.

James Garretson (01:33:19):
Fucking whores. Man.

James Garretson (01:33:23):
Yeah, but Matt is not a very smart investigator at all.

Paul Malagerio (01:33:27):
So that's Jeff Johnson's angle? He's going to go and burn an investigator and they're going to try to
throw some evidence out? Jeff Johnson, you're not that good. You don't know enough about it.

James Garretson (01:33:43):
Yeah. He's just trying to burn me and Matt, is all he is trying to do now.

Paul Malagerio (01:33:48):
Okay. This is where the prosecutor needs to step up and arrest Jeff Johnson for the tape recordings of
what he said to you. And then what's he going to say after the fact? "Oh, but they did that because I
knew this and knew that." Well, it's kind of null and void because you got your own charges to be
concerned about.

James Garretson (01:34:09):
Yeah.

Paul Malagerio (01:34:12):
You won't be credible.

James Garretson (01:34:13):


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Yeah. I thought they had already done that, and arrested him, but-

Paul Malagerio (01:34:18):
Well, okay. So what night did he call you?

James Garretson (01:34:24):
The night before last.

Paul Malagerio (01:34:28):
Monday night?

James Garretson (01:34:29):
Yeah. Yeah.

Paul Malagerio (01:34:34):
Yeah.

James Garretson (01:34:35):
And he hasn't been talking much on the Watchdog site, so...

Paul Malagerio (01:34:40):
Yeah.

James Garretson (01:34:43):
I got 36 recorded calls from Jeff Johnson.

Paul Malagerio (01:34:47):
Well, here's the other [crosstalk 01:34:49].

James Garretson (01:34:48):
I have 109 of Matt.

Paul Malagerio (01:34:52):
The other side of it is maybe they did arrest Jeff Johnson and he's calling you to try to dig up some shit
on you.

James Garretson (01:34:58):
No, I would've have... [inaudible 01:35:02] got nothing on me. Suck my dick. All they have on me is
hearsay.

James Garretson (01:35:05):
They can all go suck a penis.



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Paul Malagerio (01:35:12):
Oh boy.

James Garretson (01:35:13):
I just wish he would [inaudible 01:35:14]. Just call and say, "Oh yeah, just plea it, Joe, and be done with
it." And then everybody's done. Then everybody can get on with their fucking lives.

Paul Malagerio (01:35:23):
Well, but you got to have lunch or dinner with those two people.

James Garretson (01:35:28):
Oh, yeah, definitely. Hey, let me know if the mail comes tomorrow because that's driving me fucking
crazy. The picture of it, you're going to be fine. But that lady would've got it.

James Garretson (01:35:42):
I put [inaudible 01:35:44] and your name on it. So I don't see why she wouldn't turn it over.

Paul Malagerio (01:35:48):
And the return address is the store?

James Garretson (01:35:51):
Yes.

Paul Malagerio (01:35:53):
Well, that's where it's going to end up one day.

James Garretson (01:35:56):
Yeah.

Paul Malagerio (01:35:57):
Yeah. What was it? Was it 75 bucks?

James Garretson (01:36:02):
No, it was 51 dollars, I think.

Paul Malagerio (01:36:07):
Oh, okay. 51. Okay. I forgot how much [inaudible 01:36:11].

James Garretson (01:36:11):
Yeah. It wasn't very much. Because that's what I said. That was all it is to renew it? I thought it was going
to be several hundred.

Paul Malagerio (01:36:20):


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No. I know it's not that much. In Canada, it's expensive. Not down here. Down here it's pretty easy.

James Garretson (01:36:25):
Yeah [inaudible 01:36:27]. All right. Well, hey, I'll holler at you in the morning. I'm going to crash for a
little while.

Paul Malagerio (01:36:30):
Okay. Have a good night.

James Garretson (01:36:30):
All right, bye.

                                        PART 4 OF 4 ENDS [01:36:32]




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